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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN

EFFIE JOHNSON NORMAN,
TREVOR CREECH, DEZ JONES, and
EDWIN MCFARLAND, individually         Case No.: 2:22-cv-11393-TGB-CI
and on behalf of all others similarly
situated,                             Hon. Terrence G. Berg
             Plaintiffs,                  Magistrate Judge Curtis Ivy, Jr.
       v.

FCA US, LLC,
             Defendant.


             FIRST AMENDED CLASS ACTION COMPLAINT
                   AND DEMAND FOR JURY TRIAL

      Plaintiffs Effie Johnson Norman, Trevor Creech, Dez Jones, and Edwin

McFarland (“Plaintiffs”) bring this action against Defendant FCA US, LLC

(“Defendant” or “FCA”), by and through their attorneys, individually and on behalf

of all others similarly situated (the “Class,” as more fully defined below), upon

personal knowledge as to themselves and their own acts, and as to all other matters

upon information and belief and based upon investigation, alleging as follows:

                               INTRODUCTION

      1.    This is a class action lawsuit brought by Plaintiffs individually and on

behalf of all others similarly situated who purchased or leased a Ram 1500 vehicle
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(the “Class Vehicles”) 1 sold with a defect that allows water to enter the cabin,

causing foul odors, mold/mildew, electrical system disruption, and rear cabin airbag

contamination (the “Water Intrusion Defect,” as defined below). This action arises

from FCA’s failure, despite its longstanding knowledge of a material design and/or

manufacturing defect, to disclose the Water Intrusion Defect to Plaintiff and other

consumers.

      2.     The Class Vehicles are equipped with a rear cabin window, roofline

third brake light, and roof-mounted auxiliary antenna.




1
 The Class Vehicles include all model year 2016-2022 RAM 1500 vehicles. Plaintiff
reserves the right to amend or add to the vehicle models and model years included
in the definition of Class Vehicles.

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        3.    All three must be adequately sealed to withstand environmental

conditions and prevent water and moisture from leaking past the weatherstripping.

Moreover, the body, frame, and chassis of the trucks must be adequately designed

and manufactured to prevent excessive twisting/flex, which could crack the rear

cabin windows or disturb the sealing capabilities of the rear cabin window, rear cabin

brake light, and/or the auxiliary antenna.

        4.    However, the Water Intrusion Defect in the Class Vehicles results in

water intrusion in the rear cabin, which destroys the interior of the vehicles (leaving

permanent stain marks); leaves foul odors, mold, and mildew; causes electrical

connections to short-circuit, resulting in electrical issues with the vehicle’s Body

Control Module (“BCM”) or other electrical systems; and contaminates and fouls

the rear-cabin airbag and propellant.

        5.    Not only does the Water Intrusion Defect destroy the interior cosmetics

of the Class Vehicles, but the Water Intrusion Defect presents a serious risk to

occupants’ safety and health. First, the Water Intrusion Defect causes a foul odor,

mold, and mildew, which can cause health issues for the vehicles’ occupants.2

Second, the Water Intrusion Defect can short the vehicles’ BCM or other electronic

systems connection(s), such as the push-to-start ignition system, locks, windows,

headlights, taillights, interior lights, windshield wipers, climate control,

2
    https://www.cdc.gov/mold/faqs.htm (attached as Exhibit A).

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infotainment system and navigation, and back up camera. Failure of one or all these

systems not only distracts the driver, but could also cause, among other things,

vehicle start-up failure, headlight and taillight failure (a violation of traffic

ordinances and National Highway Traffic Safety Administration (“NHTSA”)

regulations), inoperable turn signals or brake lights (same), inoperable backup

camera or infotainment system, inoperable windshield wipers, and the inability to

lock (or unlock) the vehicle. Third, the water intrusion contacts and interferes with

the rear-cabin airbag and its propellant, contaminating and fouling the propellant,

creating the same condition present in the recalled Takata airbags.

      6.     Vehicles must be designed and manufactured to withstand

environmental exposure around and throughout the vehicle to prevent water

intrusion and related corrosion or damage.

      7.     All Class Vehicles are equipped with the same or substantially similar

rear cabin windows, rear cabin brake lights, and auxiliary antenna.

      8.     FCA has known about the Water Intrusion Defect and the risks that it

poses since at least 2016, based on the increase in Water Intrusion Defect complaints

that Class members submitted to NHTSA, and the correlating increase in warranty

claims to FCA, as well as its pre-sale testing, release of three Technical Service

Bulletins (“TSB”), and other sources. Nevertheless, FCA has never disclosed the

Water Intrusion Defect; rather, it actively conceals it.


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      9.     Many owners and lessees of Class Vehicles have requested goodwill

repair of the Water Intrusion Defect from FCA and its authorized dealerships, but

FCA often refuses to do so. In fact, Plaintiff Norman contacted FCA regarding

damage caused to her vehicle by the Water Intrusion Defect, but FCA refused her

free repairs. Plaintiff Norman ultimately paid for the repairs out-of-pocket.

      10.    FCA has taken no action to correct the root cause of the Water Intrusion

Defect, despite whether its symptoms appear during or outside of the limited

warranty. Because the Water Intrusion Defect symptoms typically appear during and

shortly outside of the limited warranty—and given FCA’s knowledge of this

concealed, safety-related design and/or manufacturing defect—FCA’s attempt to

limit the applicable warranties with respect to the Water Intrusion Defect is

unconscionable and fails its essential purpose. Moreover, if/when FCA repairs

vehicles presented for the Water Intrusion Defect repair, it removes and replaces

defective parts with new, but equally defective, parts.

      11.    Despite notice and knowledge of the Water Intrusion Defect from the

numerous consumer complaints that it received, warranty claims and customer

complaints submitted by dealers, pre-sale durability testing, NHTSA complaints,

and its own internal records, FCA has not recalled the Class Vehicles to repair the

Water Intrusion Defect, nor has FCA extended the warranty of Class Vehicles,

offered its customers a suitable repair or replacement free of charge, reimbursed


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consumers who incurred out-of-pocket expenses to repair the Water Intrusion

Defect, or compensated consumers for the diminished value caused by the Water

Intrusion Defect.

      12.    As a result of FCA’s unfair, deceptive, and/or fraudulent business

practices, owners and/or lessees of Class Vehicles, including Plaintiffs, have

suffered an ascertainable loss of money and/or property and/or loss in value.

      13.    Had Plaintiffs and other Class members known about the Water

Intrusion Defect at the time of purchase or lease, they would not have purchased or

leased the Class Vehicles or would have paid substantially less for them.

      14.    As a result of the Water Intrusion Defect and the monetary costs

associated with attempting to repair it, Plaintiffs and other Class members have

suffered injury in fact, incurred damages, and have been otherwise harmed by FCA’s

conduct.

      15.    Accordingly, Plaintiffs bring this action, individually and on behalf of

the other Class members, to redress FCA’s common law violations; violations of the

Magnuson-Moss Warranty Act; and violations of various states’ consumer fraud and

warranty statutes.




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                         JURISDICTION AND VENUE

      16.    This Court has diversity jurisdiction over this action pursuant to 28

U.S.C. § 1332(a) and (d) because the amount in controversy for the Class exceeds

$5,000,000 and Plaintiffs are a citizen of different states than FCA.

      17.    This Court has personal jurisdiction over Plaintiffs because they submit

to the Court’s personal jurisdiction. This Court has personal jurisdiction over FCA

because FCA conducted and continues to conduct substantial business in this

District; its corporate headquarters is located in this District; and because it has

committed the acts and omissions complained of herein in this District, including

marketing, selling, and leasing Class Vehicles in this District.

      18.    Venue as to FCA is proper in this judicial district under 28 U.S.C

§ 1391 because Defendant sells a substantial number of automobiles in this District,

has dealerships in this District, maintains its corporate headquarters within this

District, and many of FCA’s acts complained of herein occurred within this District,

including the marketing and leasing of the Class Vehicles to Plaintiffs and other

Class members in this District.

                                     PARTIES

Alabama Plaintiff

      19.    Plaintiff Norman is a citizen of Alabama, residing in Montgomery,

Alabama.


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      20.    On or around April 1, 2020, Plaintiff Norman purchased a used 2019

Ram 1500 with an odometer reading of approximately 31,000 miles from Wholesale

Auto Plus LLC in Montgomery, Alabama. Plaintiff Norman’s vehicle was still

covered by the Limited Warranty at time of purchase.

      21.    Plaintiff Norman purchased (and still owns) this vehicle and uses it for

personal, family, and/or household purposes.

      22.    Plaintiff Norman first noticed intermittent electrical issues, such as key

fob recognition failure and infotainment system failure, in December 2020 at an

odometer reading of approximately 45,000 miles. Due to the intermittent nature of

the electrical failures, Plaintiff Norman did not immediately present her vehicle for

repair. The electrical failures progressively worsened, and in December 2021, at

approximately 53,000 miles, Plaintiff Norman first noticed a foul odor but did not

find any moisture and thought it was an intermittent and isolated incident. In early

2022, Plaintiff Norman noticed her backseat carpet was fully saturated with water

and moldy. Plaintiff Norman presented her vehicle to Stivers Ram in Montgomery,

Alabama, which performed a moisture test and confirmed the rear cabin window

was cracked. The crack was consistent with language that Ram offered in a

Technical Service Bulletin (“TSB”) specific to that model’s rear window. Despite

the existence of the TSB, Stivers and FCA denied her covered repair. On June 10,

2022, Plaintiff Norman had the rear window replaced at her own expense. To this


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day, Plaintiff Norman still has unremedied electrical issues and her vehicle will not

start with the ignition button.




         Rear facing, interior image of Plaintiff’s rear cabin leaking water.
      23.    Prior to purchasing her vehicle, Plaintiff Norman was exposed to and

reviewed FCA’s promotional materials, including TV advertisements and FCA’s

website. However, FCA did not disclose the Water Intrusion Defect through any of

these avenues.

      24.    Neither FCA, nor any of its agents, dealers, or other representatives

informed Plaintiff Norman of the existence of the Water Intrusion Defect prior to

her purchase of the vehicle or when she took the vehicle in for repair.

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      25.    Plaintiff Norman has suffered an ascertainable loss resulting from

FCA’s omissions associated with the Water Intrusion Defect including, but not

limited to, loss of the benefit of her bargain.

      26.    Had FCA disclosed the Water Intrusion Defect, Plaintiff Norman would

not have purchased her Class Vehicle or would have paid less for it.

California Plaintiff

      27.    Trevor Creech is a citizen of Arizona, residing in Sierra Vista, Arizona.

      28.    On or around December 6, 2018, Plaintiff Creech purchased a new 2019

Ram 1500 from Moss Bros. Auto Group in Riverside, California. The vehicle was

covered by the Limited Warranty at time of purchase.

      29.    Plaintiff Creech purchased (and still owns) this vehicle and uses it for

personal, family, and/or household purposes.

      30.    Plaintiff Creech first noticed two cracks in the rear windshield of his

vehicle in November 2020, when his vehicle’s odometer read less than 20,000 miles.

Because he typically parked his vehicle outside, he noticed significant water leakage

and a foul odor during the rainy season. Plaintiff Creech presented his vehicle to

Lawley Chrysler Jeep Dodge in Sierra Vista, Arizona. The dealership replaced the

vehicle’s rear brake lights and the seam that appeared to be causing the cracks.

However, the cracks in the rear windshield returned within six months of these

repairs.


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      31.    Plaintiff Creech has suffered an ascertainable loss resulting from FCA’s

omissions associated with the Water Intrusion Defect including, but not limited to,

loss of the benefit of his bargain.

      32.    Had FCA disclosed the Water Intrusion Defect, Plaintiff Creech would

not have purchased her Class Vehicle or would have paid less for it.

Georgia Plaintiff

      33.    Plaintiff Jones is a citizen of Alabama, residing in Phenix City,

Alabama.

      34.    On or around June 19, 2018, Plaintiff Jones purchased a used 2016 Ram

1500 with an odometer reading of approximately 30,000 miles from Carmax in

Columbus, Georgia. Plaintiff Jones’s vehicle was still covered by the Limited

Warranty at time of purchase.

      35.    Plaintiff Jones purchased (and still owns) this vehicle and uses it for

personal, family, and/or household purposes.

      36.    Plaintiff Jones first noticed leakage and mold around the gasket and seal

of his vehicle’s third brake light in or around July 2018, when the vehicle’s odometer

read approximately 30,500 to 31,000 miles. He presented the vehicle to AutoNation

of South Columbus in Columbus, Georgia, which diagnosed the Water Intrusion

Defect and replaced the brake light and seal. When the problem returned several

months later, Plaintiff Jones brought his vehicle to AutoNation of North Columbus


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in Columbus, Georgia, which made the same diagnosis but did not perform any

repairs. Plaintiff Jones has experienced significant problems with his vehicle as a

result of the Water Intrusion Defect. First, the interior of his vehicle becomes wet

after every rain. Second, the water intrusion causes mold, mildew, and foul odors.

Third, the Water Intrusion Defect has hindered the functionality of the vehicle’s

power folding side mirrors and power slide window. Plaintiff Jones has resorted to

parking his vehicle on a slope to mitigate the damage done by the Water Intrusion

Defect when rainy weather occurs.

      37.    Plaintiff Jones has suffered an ascertainable loss resulting from FCA’s

omissions associated with the Water Intrusion Defect including, but not limited to,

loss of the benefit of his bargain.

      38.    Had FCA disclosed the Water Intrusion Defect, Plaintiff Jones would

not have purchased her Class Vehicle or would have paid less for it.

Texas Plaintiff

      39.     Plaintiff McFarland is a citizen of Texas, residing in Greenville, Texas.

      40.      In or around May 2018, Plaintiff McFarland purchased a new 2018

Dodge Ram 1500 from Greenville Chrysler Dodge Jeep Ram in Greenville, Texas.

Plaintiff McFarland’s vehicle was covered by the Limited Warranty at the time of

purchase. Plaintiff McFarland also purchased an extended warranty.




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      41.    Plaintiff McFarland purchased his vehicle and used it for personal,

family, and/or household purposes.

      42.    Plaintiff McFarland first noticed the water defect in December 2018

when his child continued to get wet while in the rear seat of the cab when it rained.

In December 2018, when his odometer read less than 10,000 miles, Plaintiff

McFarland presented his vehicle to the Greenville Chrysler Dodge Jeep Ram

dealership due to the leak causing the cab to be soaked with water. The dealership

explained that there was a leak coming from the third light on the rear windshield of

Plaintiff McFarland’s vehicle. The dealership resealed the rear third brake light and

told Plaintiff McFarland that the water had been cleaned up in the cab.

      43.    In or around May 2020, when Plaintiff McFarland’s vehicle had

approximately 49,000 miles on the odometer, he presented his vehicle to the

Greenville Chrysler Dodge Jeep Ram dealership due to the vehicle’s infotainment

malfunctioning, which resulted in the air conditioner turning itself on and off, as

well the vehicle making phone calls on its own. The dealership explained that the

protective shield on the infotainment system, which controlled the air conditioner

and the phone, was separating from the infotainment system due to the heat in Texas,

causing it to malfunction. Plaintiff McFarland’s vehicle remained at the dealership

for a month and a half. The dealership explained that COVID-19 caused the delay

in receiving the parts to repair the infotainment system. When Plaintiff McFarland


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went to the dealership to pick up his vehicle in or around June 2020, the cab of his

vehicle was covered in mold as a result of the leak in the third brake light. The

dealership explained that there was nothing that it could do to fix the problem and

Plaintiff McFarland would need seek a remedy through his insurance. The insurance

company inspected the vehicle at the dealership, concluding that the vehicle was

totaled. The insurance company explained that the mold covering the cab was too

extensive to repair and was a health concern. Plaintiff McFarland never took his

vehicle off the lot after discovering the mold, and he was forced to purchase a new

vehicle.

      44.    Plaintiff McFarland has suffered an ascertainable loss resulting from

FCA’s omissions associated with the Water Intrusion Defect including, but not

limited to, loss of the benefit of his bargain.

      45.    Had FCA disclosed the Water Intrusion Defect, Plaintiff McFarland

would not have purchased his Class Vehicle or would have paid less for it.

Defendant

      46.    Defendant FCA is a Michigan limited liability company, with its

principal office located in Auburn Hills, Michigan. FCA designs, tests,

manufactures, distributes, warrants, sells, and leases various vehicles, including the

Class Vehicles, under several prominent brand names, including Chrysler, Jeep, and




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Dodge in this District and throughout the United States. FCA manufactured the Class

Vehicles at issue in this case.

                           FACTUAL ALLEGATIONS

      47.    FCA designs, manufactures, markets, and sells millions of vehicles

worldwide under various brand names, such as Dodge, Jeep, Chrysler, RAM, Fiat,

and Maserati. FCA reported $101.32 billion of revenue in 2020 alone.

      48.    FCA designed, manufactured, marketed, and sold more than one

million Class Vehicles nationwide, all of which are equipped with the same or

substantially similar structural designs and rear cabin windows, rear third brake

lights, and auxiliary antennas.

A.    The Water Intrusion Defect and Inadequate Repair

      49.    The Class Vehicles are equipped with rear cabin windows, rear cabin

brake lights, and auxiliary antennas. These components are affixed to the exterior

body, requiring environmental sealing.

      50.    However, FCA failed to adequately design and/or manufacture the

Class Vehicles’ rear cabin windows, rear cabin brake lights, and auxiliary antennas

and related seals.

      51.    FCA also failed to design and/or manufacture the Class Vehicles with

sufficiently robust and durable structural designs so that the bodies, frames, or




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chassis do not twist or flex. If such twisting or flexing occurs, plastic or glass vehicle

components can crack or break.

        52.    On February 15, 2021, FCA issued a TSB admitting that “[w]ater is

leaking into cab through the third brake light.”3 FCA instructed technicians to add a

secondary gasket (seal) at the top of the brake light.




        53.    However, the TSB further stated that it “does not authorize warranty

repairs.”




3
    See Exhibit B.

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        54.      On April 15, 2021, FCA issued another TSB for “Water Leak Rear Of

Cab Rear Seat Or Headliner.”4

        55.      This TSB identifies four potential Water Intrusion Defect causes: (1)

cracked rear window/frame, (2) incorrect back window seal, (3) the rear brake light,

or (4) the antenna.




4
    Exhibit C.

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        56.      Free repairs pursuant to this TSB are only available if the vehicle is still

within the warranty period.

        57.      On April 22, 2021, FCA issued another TSB for “[w]ater leaks from

the cab back, evident on rear seats, carpet, and potentially roof.” 5 FCA instructed the

technicians to “[i]nspect the rear sliding glass assembly from inside the cab, [to]

look[] for cracks in the frame.”




5
    Exhibit D.

                                              18
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      58.    If such cracking was present, FCA instructed technicians to “[r]eplace

the rear sliding glass assembly.”

      59.    Like its other TSBs, this repair is only “[r]eimbursable within the

provisions of the warranty.”

      60.    But these repairs were inadequate, as FCA still failed to address the

underlying design and/or manufacturing defect(s) causing the Water Intrusion

Defect. Rather than correcting the cause, FCA is treating the symptoms. FCA

instructs technicians to replace one part with an equally defective part. Upon

information and belief, FCA has not redesigned the defective parts.

      61.    Class members continue to complain about the Water Intrusion Defect

after repair. For example, on April 11, 2022, the owner of a 2019 Ram 1500 filed

the following complaint with NHTSA:




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       The rear window frame has cracked due to chasie flex. It’s been
       repaired one time already. 6

       62.   On February 11, 2022, the owner of a 2017 Ram 1500 filed the

following complaint with NHTSA:

       2017 Ram Quad cab truck leaking water into cabin ? 3 rd rear brake
       light gasket replaced and still finding water on front windshield and
       dash and also under back fold up seat storage compartments filled
       with water ??? There are numerous complaints re: Ram trucks of
       different years experiencing same problems why is this not a issue for
       a recall when this will rot out floor n cause mold on interior carpets and
       headliners ? My truck has 12,169 miles on it and I feel like it is
       worthless !!! I didn’t buy a fish tank I purchased a very expensive truck
       that Ram knows has this problem many many times ?7

       63.   On January 5, 2022, the owner of a 2021 Ram 1500 posted the

following complaint on NHTSA:

       The contact owns a 2021 Ram 1500. The contact stated that upon taking
       the vehicle to the car wash, he noticed that the headliner had turned
       blue. The contact stated that the inside of the rear end of the vehicle was
       corroded. The vehicle was taken to the dealer who diagnosed
       that water was leaking through the rear taillight on top of the cab into
       the headliner and rear end of the vehicle. The dealer installed silicon in
       the gap between the rear subframe and the rear taillight; however, the
       failure had been recurring. The manufacturer was notified of the failure
       but provided no assistance. The vehicle was not repaired. The failure
       mileage was approximately was 3,000.8




6
  NHTSA ID 11460375 (all typographical and syntactical errors are taken directly
from the NHTSA complaints).
7
    NHTSA ID 11451569.
8
    NHTSA ID 11446345.

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        64.   On February 21, 2021, the owner of a 2019 Ram 1500 posted the

following complaint with NHTSA:

        WATER ENTERS VEHICLE THROUGH REAR WINDOW.
        STRESS CRACKS FORM IN PLASTIC FRAME OF REAR
        WINDOW. THESE THEN CRACK AND WATER GETS IN
        VEHICLE CAN CAUSES MOLD TO GROW. RAM REPLACED
        WINDOW AND THE NEW ONE ALREADY HAD STRESS
        MARKS ON THEM. THIS IS AM ONGOING ISSUE THAT NEEDS
        TO BE TAKEN CARE OF. 9

        65.   On January 7, 2021, the owner of a 2020 Ram 1500 filed the following

complaint with NHTSA:

        THE REAR FRAME AROUND THE REAR CAB WINDOW
        CRACKED AND IS LEAKING WATER. THIS IS ON A RAM 1500
        THAT IS LESS THAN A YEAR OLD WITH ONLY 5,500 MILES
        ON IT. THERE HAS NOT BEEN ANY UNUSUAL USE OR
        DAMAGE THAT WOULD HAVE CAUSED THIS TO HAPPEN.
        MANY OTHER OWNERS ARE HAVING PROBLEMS WITH THIS
        EXACT SAME CRACK AND WATER LEAK. REPLACEMENT
        WINDOWS DON’T SEEM TO FIX THE ISSUE AND CRACK
        AGAIN.10

        66.   On December 31, 2020, the owner of a 2019 Ram 1500 filed the

following complaint with NHTSA:

        REAR WINDOW PLASTIC CRACKED/LEAKING WHEN
        RAINING OR GOING THROUGH A CAR WASH. DEALER FIXED
        3RD BRAKE     LIGHT AND    RESEALED ANTENNA BUT
        WINDOW STILL LEAKING HEADLINER AND SEATS GET




9
    NHTSA ID 11397215.
10
     NHTSA ID 11387007.

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        SOAKING WET I HAVE A VIDEO OF THIS HAPPENING BUT IT
        WON’T LET ME UPLOAD IT 11

        67.   On May 5, 2020, the owner of a 2018 Ram 1500 filed the following

complaint with NHTSA:

        WATER LEAKING INTO STORAGE AREA UNDER BACK SEAT
        DEALERSHIP REPLACED BRAKE LIGHT ASSEMBLE AND
        GASKET ON REAR CAB BUT WATER STILL PRESENT AFTER
        RAINFALL OR CARWASH WHEN VEHICLE IS PARKED ALSO
        NOTED SEAT BOLTS AND OTHER PARTS UNDER SEAR HAVE
        RUST ON THEM. *TR12

        68.   On March 10, 2020, the owner of a 2018 Ram 1500 filed the following

complaint:

        TRUCK LEAKS SOMEWHERE. IT IS IN THE SHOP RIGHT NOW
        FOR THE 3RD TIME FOR THE LEAK. GOT TOLD IT WAS FIXED
        2 TIMES ALREADY AND IT STILL LEAKED. THE TRUCK HAS
        HEATED BACK SEATS AND THAT’S WHERE THE TRUCK
        HOLDS WATER, UNDERNEATH THE BACK SEAT STORAGE. I
        WON’T USE THE HEATED BACK SEATS CAUSE MY CARPET
        STAYS WET WHEN IT’S RAINING. THERE IS ALSO A
        SUBWOOFER UNDER THE BACKSEAT WHERE IT
        HOLDS WATER, IT’S GOTTEN REPLACED ONCE ALREADY
        FROM      THE WATER DAMAGE.       AND      IT    HAS
        GOTTEN WET AGAIN. THE CARPET GOT REPLACED ONCE,
        THERE WAS MOLD, AND THE CARPET GOT WET AGAIN SO
        THEY ARE GOING TO HAVE TO REPLACE IT AGAIN CAUSE
        THERE    IS  MORE     THAN   LIKELY MOLD FROM      IT
        HOLDING WATER.  13




11
     NHTSA ID 11385787.
12
     NHTSA ID 11323404
13
     NHTSA ID 11317423

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        69.   Additionally, newer model Class Vehicles complain about the Water

Intrusion Defect.

        70.   For example, the owner of a 2021 Ram 1500 filed the following

complaint with NHTSA on January 5, 2022:

        The contact owns a 2021 Ram 1500. The contact stated that upon taking
        the vehicle to the car wash, he noticed that the headliner had turned
        blue. The contact stated that the inside of the rear end of the vehicle was
        corroded. The vehicle was taken to the dealer who diagnosed
        that water was leaking through the rear taillight on top of the cab into
        the headliner and rear end of the vehicle. The dealer installed silicon in
        the gap between the rear subframe and the rear taillight; however, the
        failure had been recurring. The manufacturer was notified of the failure
        but provided no assistance. The vehicle was not repaired. The failure
        mileage was approximately was 3,000.14

        71.   On October 21, 2021, the owner of a 2021 Ram 1500 filed the following

complaint with NHTSA:

        The contact owns a 2021 Ram 1500. The contact stated while entering
        the vehicle, he noticed water leaking into the interior of the rear lamp
        coming from the top of the vehicle. The local dealer was contacted and
        informed the contact that the vehicle could be repaired using silicone to
        fix the failure. The contact was concerned that the repair would not fix
        the failure. The vehicle was not diagnosed or repaired. The
        manufacturer was made aware of the failure. The failure mileage was
        approximately 3,000.15

        72.   On May 28, 2022, the owner of a 2022 Ram 1500 filed the following

complaint with NHTSA:

        Radio will randomly switch sources and volume and speakers. This is
14
     NHTSA ID 11446345.
15
     NHTSA ID 11437658.

                                            23
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        very distracting and could cause an accident 16

        73.   Environmental sealing should function for periods (and mileages)

substantially in excess of those specified in FCA’s warranties and, given past

experience, consumers legitimately expect to enjoy the use of an automobile without

worrying about water intrusion.

        74.   Automobiles must incorporate designs that are able to withstand

foreseeable usage conditions such as environmental exposure and chassis flex and

shock absorption. But here, the Class Vehicles are deficient in design and/or

manufacture.

        75.   The Class Vehicles were manufactured with insufficient and defective

rear brake lights, antennas, and windows, whose defects arise from non-robust

sealing, and/or cabin, body, or chassis twist. These defects render the Class Vehicles

prone to the Water Intrusion Defect.

        76.   Once sealing capabilities are compromised, the seals fail to function as

intended and expected and can result in the Water Intrusion Defect.

B.      The Water Intrusion Defect Is A Serious Safety Defect

        77.   Not only does the Water Intrusion Defect destroy Class Vehicle

interiors (decreasing their resale value), but the Water Intrusion Defect also poses a

risk to occupant safety and health.


16
     NHTSA ID 11466493.

                                          24
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      78.    FCA markets the Class Vehicles as durable and reliable trucks. But

because of the Water Intrusion Defect, the Class Vehicles are far from durable or

reliable, are not fit for ordinary use, and are unsafe.

      79.    The Water Intrusion Defect causes a foul odor, mold, and mildew,

which can cause health issues for the vehicles’ occupants, including respiratory

issues such as mold-induced asthma and lung inflammation.

      80.    The Water Intrusion Defect also disrupts the vehicles’ BCM or other

electrical connection(s), which control many of the vehicles’ electronic systems such

as the push-to-start ignition system, locks, windows, headlights, taillights, interior

lights, windshield wipers, climate control, infotainment system and navigation, and

back up camera, among other things.

      81.    Failure of one or all these systems not only distracts the driver, but

could also cause, among other things, vehicle start-up failure, headlight and taillight

failure (a violation of traffic ordinances and NHTSA regulations), inoperable turn

signals or brake lights (same), inoperable windshield wipers, and the inability to lock

(or unlock) the vehicle, among other things.

      82.    Third, water contacts and interferes with the rear-cabin airbag and its

propellant, contaminating and fouling the propellant, creating the same condition

present in recalled Takata airbags.

      83.    Many consumers have posted complaints with NHTSA highlighting the


                                           25
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seriousness of the Water Intrusion Defect. For example, on May 26, 2022, the owner

of a 2020 Ram 1500 filed the following complaint with NHTSA regarding airbag

destruction:

        The antenna on the posterior roof began leaking, causing extensive
        damage to the headliner, including the fabric around the rear airbags.
        Unknown level of destruction to the airbags. It is available for
        inspection upon request-Photos are also available. The vehicle has not
        been inspected by other entities at this time. A recent thunderstorm
        occurred and the headliner was immediately identified to have been
        damaged/stained. The dealership was contacted to see if this would be
        covered as a manufacturing defect, however there were no open recalls
        and the cost was expected to be paid by the customer. Upon self
        assessment, the leak was identified to be coming from the antenna. No
        applicable warning lamps or messages to include.17

        84.    On April 18, 2022, the owner of a 2019 Ram 1500 filed the following

complaint with NHTSA:

        Water leaking into roof from unknown source. Creating musty smell
        (mold). Concerns are: 1. Mold risk to consumer health. 2.
        Airbags/sensors being affected by water infiltration. 3. Potential
        electrical hazards associated with water infiltration. 18
        85.    On April 18, 2022, the owner of a 2017 Ram 1500 filed the following

complaint with NHTSA:

        2017 RAM 1500. CONSUMER WRITES IN REGARD
        TO MOLD AND MILDEW IN VEHICLE. THE CONSUMER
        STATED THE VENTS LEAKED CAUSING A BUILD UP
        OF MOLD AND MILDEW. THE CARPET, FLOORBOARDS AND



17
     NHTSA ID 11466263.
18
     NHTSA ID 11461120.

                                         26
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        PADDING WERE ALL WET AND NEEDED TO BE REPLACED.19

        86.   On January 25, 2022, the owner of a 2020 Ram 1500 filed the following

complaint with NHTSA:

        Rear window crack-leaks water into the floor and damages the auto
        receiver. The vehicle will not start and keys are not operational.
        Insurance company will not cover and warranties will not cover
        damages. Insurance company believes is a design safety issue and needs
        to be looked into since there are ample of complaints on the internet 20

        87.   On October 31, 2021, the owner of a 2020 Ram 1500 filed the following

complaint with NHTSA:

        Potential “Black Mold” health exposure due to faulty
        construction/design/product allowing water to leak into the cab soaking
        and staining headliner, seats and rugs. The water is absorbed into the
        insulation and fabrics. Research has confirmed this issue has been
        reported for more than 15 years. 2020 Ram 1500 Bighorn Quadcab. 21
        88.   On August 11, 2021, the owner of a 2020 Ram 1500 filed the following

complaint with NHTSA:

        Rear windshield surround cracked. Water is entering vehicle.
        Concerned about excessive moisture in and around airbags.22

        89.   On January 21, 2021, the owner of a 2019 Ram 1500 filed the following

complaint with NHTSA:

        TOUCHSCREEN CONTROLS FOR RADIO, CLIMATE, AND ALL

19
     NHTSA ID 11461175.
20
     NHTSA ID 11448900.
21
     NHTSA ID 11438799.
22
     NHTSA ID 11428690.

                                          27
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        OTHER CONTROLS DO NOT WORK PROPERLY. ANY AND
        ALL ELEMENTS OF TOUCHSCREEN WILL POWER ON AND
        OFF FROM AC TO HEAT TO RADIO STATIONS TO RANDOM
        PHONE DIALING. ALSO THE VEHICLE WILL SHUT DOWN
        WHILE DRIVING AS IF THE GEAR SHIFTER HAS BEEN
        PLACED IN NEUTRAL. TRUCK WILL NOT ACCELERATE AND
        REMOTE START DOESN’T WORK EITHER. LEFT REAR
        PASSENGER WINDOW SEAL NEAR BED OF TRUCK ALSO
        LEAKS WATER WHEN IT RAINS. 23

        90.   On May 17, 2020, the owner of a 2019 Ram 1500 filed the following

complaint with NHTSA:

        WATER LEAKAGE     INTO    THE    REAR    OF   THE
        CAB. MOLD STARTED GROWING IN THE CARPET. NOTICE IT
        IS MOR PREVELENT AT SEAM INDICATING ITS BOTTOM UP.
        ALSO, MOISTURE PRESENT INSIDE CAB WHEN NOT DRIVEN
        REGULARLY. MULTIPLE COMPLAINTS LOCATED ON
        YOUTUBE AS WELL. NOTICED REAR CAB LOOKS LIKE
        SEALS ARE NOT SEATED CORRECTLY. 24

        91.   On February 28, 2019, the owner of a 2017 Ram 1500 filed the

following complaint with NHTSA:

        TL* THE CONTACT OWNS A 2017 RAM 1500. THE CONTACT
        STATED    THAT  REAR    SEATS  WERE     DRENCHED
        WITH WATER, WHICH CAUSED A FOUL ODOR INSIDE THE
        VEHICLE. THE VEHICLE WAS TAKEN TO MULTIPLE
        UNKNOWN INDEPENDENT MECHANICS WHERE THE
        CONTACT WAS INFORMED THAT THE SEAL ON THE
        THIRD BRAKE LIGHT WAS FRACTURED AND NEEDED TO BE
        REPLACED. THE FAILURE CAUSED WATER TO ENTER THE
        VEHICLE. AFTER THE VEHICLE WAS REPAIRED, THE
        “REAR BRAKE LIGHT OUT” AND “KEY FOB LEFT THE
        VEHICLE” WARNING MESSAGES ILLUMINATED. THE
23
     NHTSA ID 11389260.
24
     NHTSA ID 11324911.

                                       28
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        VEHICLE WAS TAKEN TO ANOTHER INDEPENDENT
        MECHANIC WHERE THE CONTACT WAS INFORMED THAT
        THE THIRD BRAKE LIGHT WAS INOPERABLE. THE VEHICLE
        WAS NOT REPAIRED. THE MANUFACTURER WAS NOT MADE
        AWARE OF THE FAILURES. THE FAILURE MILEAGE WAS
        26,320.25

        92.   These complaints represent a sampling of the many complaints filed

with NHTSA.

        93.   A vehicle suffering from the Water Intrusion Defect is unfit for its

ordinary and intended purpose. This is particularly true for the Class Vehicles, which

were marketed and sold as safe and reliable family vehicles.

        94.   The Water Intrusion Defect substantially impairs the use, value, and

safety of the Class Vehicles and renders them substantially less drivable, safe, useful,

and valuable than they’d be without the defect.

C.      FCA Has Long Known About the Water Intrusion Defect, But Failed to
        Disclose It

        95.   FCA knew or should have known about the Water Intrusion Defect and

its related safety and health risks well before Plaintiff and the other Class members

purchased or leased their Class Vehicles. Pre-release evaluation and testing data;

consumer complaints made directly to FCA, NHTSA, and/or posted on public online

vehicle owner forums; its own investigations; repair and replacement part sales data;

and aggregate data from authorized-FCA dealerships.


25
     NHTSA ID 11183262.

                                          29
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      96.    Pre-release design, engineering, manufacture, and testing of Class

Vehicles provided FCA with comprehensive and exclusive knowledge about the

Water Intrusion Defect, particularly the seals’ functions, uses, and the expected

conditions they may face, and frame/chassis twisting.

      97.    FCA knew or should have known about the Water Intrusion Defect

from testing performed on the seals and structure. Vehicle manufacturers, like FCA

and its suppliers, perform various pre-production tests on new vehicle components

including, but not limited to, Failure Modes and Effects Analyses (“FMEA”)26 and

frame/cabin twisting tests.

      98.    FMEA tests assess methods or modes by which a particular component

might fail. It examines the materials used in each component, the assembly of the

part, and whether use in various manners would cause the part to fail. For example,

in testing the systems at issue here, FMEA testing would explore, among other

things, how and under what conditions the seals could fail, how likely failure was

under different conditions, and how likely each condition tested was to occur. If

properly performed, FMEA testing here would have revealed that the Class Vehicles

were susceptible to the Water Intrusion Defect.

      99.    Frame/chassis twist tests asses the vehicles’ flex and related

26
   https://www.iatfglobaloversight.org/wp/wp-content/uploads/2020/08/FCA-US-
LLC-CSR-IATF-16949-20200805-final.pdf (last visited June 16, 2022) (attached as
Exhibit E).

                                        30
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forces/tensions caused by flex. For example, in testing the twist or flex here, the test

would ask, among other things, what components may suffer from twist or flex, to

what degree does twist or flex occur and how much damage is caused, and the

condition(s) which would cause excessive twist or flex. If properly performed, such

testing here would have revealed that the Class Vehicles were susceptible to the

Water Intrusion Defect. FCA performs such tests.27

      100. FCA and its suppliers performed these tests, and others, on the Class

Vehicles and, if performed with due care, each of these tests demonstrated that the

relevant systems or components in the Class Vehicles would lead to failure.

      101. Moreover, FCA monitors customer complaints submitted to NHTSA.

Thus, FCA knew or should have known about the Water Intrusion Defect and its

associated risks through the numerous consumer complaints filed with NHTSA as

early as 2016. See TREAD Act, Pub. L. No. 106-414, 114 Stat. 1800 (2000).

      102. For example, on October 8, 2016, the owner of a 2016 Ram 1500 filed

the following complaint with NHTSA:

      WHEN DRIVING AT NIGHT THE HEADLIGHTS FLICKER. DOES
      IT IN LOW BEAM AND HIGH BEAM. HAS DONE IT WITH AC
      ON AND OFF. HAS DONE THIS WITH HEAT ON AND OFF. I AM
      CONCERNED THAT WITH THE ISSUE THE HEADLIGHTS WILL
      GO COMPLETELY OUT WHILE DRIVING. THIS CAN CAUSE A
      LIFE AND DEATH ISSUE. IT DOES IT AT HIGHWAY SPEEDS AS
      WELL AS CITY SPEED. I NOTICED THIS WHEN THE VEHICLE
27
        https://www.freep.com/story/money/cars/2018/11/02/chevy-ford-ram-truck-
tests/1809135002/ (attached as Exhibit F).

                                          31
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        HAD 751 MILES ON IT.28

        103. On November 28, 2016, the owner of a 2016 Ram 150 filed the

following complaint with NHTSA:

         TL* THE CONTACT OWNS A 2016 DODGE RAM 1500. WHILE
        DRIVING    VARIOUS     SPEEDS,   THE     HEADLIGHTS
        INADVERTENTLY TURNED OFF WITHOUT WARNING. THE
        VEHICLE WAS TAKEN TO THE DEALER WHERE IT WAS
        DIAGNOSED, BUT NO FAILURES WERE FOUND. THE
        VEHICLE WAS NOT REPAIRED. THE MANUFACTURER WAS
        NOTIFIED OF THE FAILURE. THE FAILURE MILEAGE WAS
        200. UPDATED 02/07/2017*CT CONSUMER STATED HAD
        FLICKERING LIGHT ISSUES. UPDATED 7/11/18*JB29

        104. On June 13, 2017, the owner of a 2015 Ram 1500 filed the following

complaint with NHTSA:

         TWO TIMES IN THE LAST MONTH WHEN WE ENTERED THE
        NOTED VEHICLE THE DASH LIGHTS CAME ON AS EXPECTED
        BUT WHEN THE IGNITION BUTTON WAS PUSHED TO START
        THE VEHICLE DASH BECAME TOTALLY BLACK AN THE
        VEHICLE WOULD NOT START LIKE THERE WAS NO
        ELECTRIC POWER , AFTER ABOUT A MINUTE ALL DASH
        LIGHTS CAME ON AGAIN AND THE VEHICLE WAS ABLE TO
        BE STARTED. IMMEDIATELY AFTER THE FIRST TIME I TOOK
        IT TO A DEALER AND WAS INFORMED THEY COULD NOT
        FIND THE REAL PROBLEM,I AM TAKING IT TO A DIFFERENT
        DEALER TOMORROW FOR THE SAME SITUATION.30

        105. On January 4, 2018, the owner of a 2016 Ram 1500 filed the following

complaint with NHTSA:

28
     NHTSA ID 10914886.
29
     NHTSA ID 10928272.
30
     NHTSA ID 10994989.

                                        32
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        WHILE DRIVING THE TRUCK AT NIGHT THE LIGHTS
        FLICKER ALMOST LIKE AS IF YOU WERE FLASHING YOUR
        LIGHTS AT SOMEONE IN FRONT OF YOU, THIS TRUCK HAS
        BEEN TO DEALERSHIP A TOTAL OF 16 TIMES FOR THIS
        REASON. FIRST THEY TOLD ME IT WAS THE WAY DODGE
        BUILT MY TRUCK AND THAT IT WAS NORMAL, THEN NEXT
        TIME WE TOOK IT IN THEY TOLD ME THAT IT WAS MY TOLL
        TAG, I QUESTIONED OK WHICH IS IT DODGE MADE MY
        TRUCK THIS WAY OR MY TOLL TAG, WE GOT NO RESPONSE.
        NOW THEY JUST PUT MY SHOP IN THE BAY AND LEAVE IT
        AND DO NOTHING TO IT FOR A COUPLE OF DAYS THEN
        CALL ME AND TELL ME IT’S READY, YEA BEEN CAUGHT ON
        CAMERA BUDDIES, SEE HOW WARRANTY LIKES THOSE
        VIDEOS ,Y’ALL CHARGING WARRANTY FOR THE WORK BUT
        YOUR CAUGHT ON CAMERA DOING ABSOLUTELY NOTHING
        TO MY TRUCK . GOOD LUCK 31

        106. On May 21, 2018, the owner of a 2016 Ram 1500 filed the following

complaint with NHTSA:

         I KEEP HAVING PROBLEMS WITH THE ELECTRICAL SYSTEM
        IN THE TRUCK. THE PLUGIN AREAS FOR ELECTRONIC
        DEVICES IN THE REAR PASSENGER KEEPS BURNING OUT
        FUSES. I AM ALSO HAVING ISSUES WITH MY CRUISE
        CONTROL BUTTON ON THE STEERING WHEEL ACTING LIKE
        IT HAS A SHORT TURNING ITSELF ON AND OFF. THIS
        HAPPENS WHEN I AM DRIVING THE VEHICLE OR IN THE
        DRIVE WAY AS WELL.32

        107. On July 16, 2018, the owner of a 2018 Ram 1500 filed the following

complaint with NHTSA:

        STARTED CAR IN MORNING AND BACK UP CAMERA
        FLASHED ON AND WOULD NOT COME BACK ON. PUT CAR IN
        PARK AND REVERSE AND STILL NO PICTURE. TURNED CAR
31
     NHTSA ID 11058421.
32
     NHTSA ID 11097024.

                                       33
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        OFF AND STILL NO PICTURE. THE MANUAL CAMERA
        BUTTON WOULD NOT ACTIVATE CAMERA EITHER. 33

        108. On September 5, 2018, the owner of a 2019 Ram 1500 filed the

following complaint with NHTSA:

        A WEEK AFTER BUYING THE CAR I NOTICED WATER UNDER
        THE CARPET IN THE BACK SEAT AREA , I THOUGHT I
        SPILLED SOMTHING SO I JUST DRIED IT AND REMOVED THE
        CARPET FOR 2 DAYS ...THEN SUDDENLY FEW DAYS LATER I
        FEEL LIKE I CAN HEAR THE OUTSIDE STREET MORE THEN
        NORMAL AND ALSO I COULD HEAR THE BACK WINDOW
        SHAKING EVERYTIME THE CAR IS GOING OVER A HUMP.
        THEN AFTER FEW DAYS ON A VERY RAINY DAY , I
        SEE WATER DRIPPING FROM THE TOP OF MY BACK
        WINDOW .NOW BY LOOKING AT BACK WINDOW AND
        TOUCJING IT IT FEEL LOOSE !! SO I DROPPED IT ON A DAY
        THAT THE LEAK GUY WORKING AT THE LOCAL DEALER
        JUST TO TELL ME THAT ITS ALL FIXED ...WHEN I TOLD THEM
        YOU SURE ?? MY ALL WINDOW IS LOOSE THEN SERVICE
        OPORATION MANAGER TOLD ME THAT THE BACK WINDOW
        IS DIFECTED AND MUST BE REPLACED . THIS WAS ON JULY
        26 2018 ....NOW ITS SEP.5 AND IM STILL DONT HAVE THE
        CAR...IVE BEEN DRIVING A LOANER FOR ALL THIS TIME34

        109. On November 27, 2018, the owner of a 2016 Ram 1500 filed the

following complaint with NHTSA:

        WHEN IS RAINING PARK OR DRIVING PASSENGER BRAKE
        TAIL LIGHT INDICATE OUT, MIRROR WON’T CLOSE, DRIVER
        SIDE WINDOW WON’T WORK, DASH BOARD LIGHTS WILL
        BE FLASHING ON/OFF AND BUCK UP CAMERA HAS A
        BLACK/ COLOR LINE SCREEN, FRONT DIFFERENTIAL HAS A



33
     NHTSA ID 11111715.
34
     NHTSA ID 11124661.

                                     34
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        CRACK ON IT.35

        110. On February 3, 2019, the owner of a 2017 Ram 1500 filed the following

complaint with NHTSA:

         DURING HEAVY RAIN THE BACK DRIVER SIDE WELL
        (UNDERNEATH REAR SEAT-STORAGE AREA) FILLS
        WITH WATER. I HAVE AN APPOINTMENT TOMORROW TO
        DIAGNOSIS THE ISSUE. I BELIEVE THIS IS A PROBLEM WITH
        THE REAR WINDOW DRAIN HOLES BEING PLUGGED BUT
        NOT CERTAIN. ONLY A YEAR OLD AND SURPRISED THIS
        OCCURRED. CHECKED YOUTUBE AND FOUND THIS ISSUE
        WITH OLDER MODELS OF RAM TRUCKS. ITS TAKEN A ACT
        OF CONGRESS TO GET DEALER TO SCHEDULE A FIX FOR
        THIS PROBLEM. WENT TO LOCAL DEALER AND THEY TRIED
        TO REDIRECT TO A WATER SPECIALIST LOCALLY. THEY
        WERE AVOIDING THE WARRANTY OR JUST PLAIN LAZY.
        COME ON DODGE YOU CAN DO BETTER. I HAVE NOTICED
        THIS FROM THE TRUCK BEING PARKED IN FRONT OF MY
        HOME. I NOW PLACE TOWELS TO CAPTURE WATER ON
        RAINY DAYS.36

        111. On February 28, 2019, the owner of a 2017 Ram 1500 filed the

following complaint with NHTSA:

        TL* THE CONTACT OWNS A 2017 RAM 1500. THE CONTACT
        STATED    THAT   REAR    SEATS  WERE     DRENCHED
        WITH WATER, WHICH CAUSED A FOUL ODOR INSIDE THE
        VEHICLE. THE VEHICLE WAS TAKEN TO MULTIPLE
        UNKNOWN INDEPENDENT MECHANICS WHERE THE
        CONTACT WAS INFORMED THAT THE SEAL ON THE THIRD
        BRAKE LIGHT WAS FRACTURED AND NEEDED TO BE
        REPLACED. THE FAILURE CAUSED WATER TO ENTER THE
        VEHICLE. AFTER THE VEHICLE WAS REPAIRED, THE “REAR
        BRAKE LIGHT OUT” AND “KEY FOB LEFT THE VEHICLE”
35
     NHTSA ID 11154161.
36
     NHTSA ID 11173786.

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        WARNING MESSAGES ILLUMINATED. THE VEHICLE WAS
        TAKEN TO ANOTHER INDEPENDENT MECHANIC WHERE
        THE CONTACT WAS INFORMED THAT THE THIRD BRAKE
        LIGHT WAS INOPERABLE. THE VEHICLE WAS NOT
        REPAIRED. THE MANUFACTURER WAS NOT MADE AWARE
        OF THE FAILURES. THE FAILURE MILEAGE WAS 26,320.37

        112. On March 10, 2019, the owner of a 2016 Ram 1500 filed the following

complaint with NHTSA:

        THE HORN AND THE STEERING WHEEL CONTROLS DO NOT
        WORK. THE HORN WILL WORK WHEN LOCKING MY
        VEHICLE WITH THE KEY FOB BUT NOT BY PRESSING THE
        HORN. THE CONTROLS ON THE STEERING WHEEL DO NOT
        WORK AT ALL. 38

        113. On March 11, 2019, the owner of a 2018 Ram 1500 filed the following

complaint with NHTSA:

        I HAVE A RADIO THAT IS NOT OPERATING CORRECTLY
        AND ACCORDING TO CHRYSLER THERE IS NO FIX AND/OR
        COULD NEVER BE A FIX39

        114. On June 5, 2019, the owner of a 2019 Ram 1500 filed the following

complaint with NHTSA:

        TL* THE CONTACT OWNS A 2019 RAM 1500. THE CONTACT
        STATED THAT THE WINDSHIELD WIPERS MOVED SLOWLY
        WHILE DRIVING IN A STORM. THE CONTACT COULD NOT
        SEE THE ROAD DUE TO THE WATER ON THE WINDSHIELD.
        THE CONTACT HAD TO WAIT FOR THE STORM TO PASS AS
        THE WINDSHIELD WIPERS CONTINUED TO MOVE SLOWLY.
        THE VEHICLE WAS NOT DIAGNOSED OR REPAIRED. THE
37
     NHTSA ID 11183262.
38
     NHTSA ID 11185690.
39
     NHTSA ID 11185888.

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        MANUFACTURER AND DEALER WERE NOT MADE AWARE
        OF THE FAILURE. THE FAILURE MILEAGE WAS 424.40

        115. On September 27, 2019, the owner of a 2018 Ram 1500 filed the

following complaint with NHTSA:

        THE BACK UP CAMERA GOES OUT AND BLACK OUTS AT
        TIMES. SOMETIMES IT LOOKS LIKE A OLD TV WITH WAVY
        LINES. THE DRIVERS WINDOW CONTROLLER, YOU HAVE
        THE ABILITY TO USE AUTO DOWN AND AUTO UP. AT TIMES,
        YOU MUST HOLD UP ON THE WINDOW SWITCH TO MAKE
        THE WINDOW GO UP. THE HEADLIGHTS COME ON WHEN
        YOU ENTER A DARK GARAGE AND WHEN YOU PULL OUT
        THEY STAY ON. MY VEHICLE DOES NOT HAVE DAYTIME
        RUNNING LIGHTS. THE HEADLIGHTS WILL COME ON
        DURING MORNING WITH FULL SUNSHINE. SOMETIMES
        THERE IS A VERY LOUD KNOCKING COMING FROM THE
        MOTOR . SOUNDS LOVE LIKE A BAD VALVE.41

        116. On January 22, 2020, the owner of a 2018 Ram 1500 filed the following

complaint with NHTSA:

        TL* THE CONTACT OWNS A 2018 RAM 1500. WHILE DRIVING
        AT VARIOUS SPEEDS WITH THE AIR CONDITIONER OR HEAT
        ACTIVATED, THERE WAS AN ABNORMAL MUSTY AND OR
        MOLDY ODOR DETECTED. THERE WERE NO WARNING
        LIGHTS ILLUMINATED. THE VEHICLE WAS TAKEN TO
        AUFFENBERG DEALER GROUP 187 AUTO CT, O’FALLON, IL
        62269 (618) 624-2277 BUT WAS NOT DIAGNOSED OR
        REPAIRED. THE MANUFACTURER WAS CONTACTED AND
        MADE AWARE OF THE ISSUE. THE FAILURE MILEAGE WAS
        APPROXIMATELY 18,000.42


40
     NHTSA ID 11218042.
41
     NHTSA ID 11258665.
42
     NHTSA ID 11301173.

                                        37
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        117. On February 19, 2020, the owner of a 2019 Ram 1500 filed the

following complaint with NHTSA:

        REAR POWER SLIDING WINDOW DEVELOPS CRACKS AT THE
        TOP ON BOTH SIDES OF THE CENTER GLASS. WINDOW
        LEAKS INTO CAB WHEN MOISTURE IS PRESENT OUTSIDE
        THE VEHICLE SUCH AS SNOW, RAIN OR CAR WASH. I AM
        TRYING TO GET RAM/FCA TO FIX ISSUE BUT THEY ARE NOT
        CALLING ME BACK. MANY 2019 RAM TRUCKS ARE HAVING
        THIS ISSUE.43

        118. On March 10, 2020, the owner of a 2018 Ram 1500 filed the following

complaint with NHTSA:

        TRUCK LEAKS SOMEWHERE. IT IS IN THE SHOP RIGHT NOW
        FOR THE 3RD TIME FOR THE LEAK. GOT TOLD IT WAS FIXED
        2 TIMES ALREADY AND IT STILL LEAKED. THE TRUCK HAS
        HEATED BACK SEATS AND THAT’S WHERE THE TRUCK
        HOLDS WATER, UNDERNEATH THE BACK SEAT STORAGE. I
        WON’T USE THE HEATED BACK SEATS CAUSE MY CARPET
        STAYS WET WHEN IT’S RAINING. THERE IS ALSO A
        SUBWOOFER UNDER THE BACKSEAT WHERE IT
        HOLDS WATER, IT’S GOTTEN REPLACED ONCE ALREADY
        FROM      THE WATER DAMAGE.      AND       IT    HAS
        GOTTEN WET AGAIN. THE CARPET GOT REPLACED ONCE,
        THERE WAS MOLD, AND THE CARPET GOT WET AGAIN SO
        THEY ARE GOING TO HAVE TO REPLACE IT AGAIN CAUSE
        THERE    IS  MORE     THAN   LIKELY MOLD FROM      IT
        HOLDING WATER.  44


        119. On March 24, 2020, the owner of a 2019 Ram 1500 filed the following

complaint with NHTSA:

        LEAK IN CEILING HEAD LINER WET AND DISCOLORING
43
     NHTSA ID 11310037.
44
     NHTSA ID 11317423.

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        RADIO SCREEN DIED TWICE. HAS SHIFTING PROBLEM FROM
        1ST TO SECOND SOMETIMES WANT MY OLD TRUCK BACK
        PLEASE 45

        120. Each of these complaints were filed before Plaintiff Norman purchased

her Class Vehicle. Many of them were filed before Plaintiff Creech and Plaintiff

Jones purchased their Class Vehicles.

        121. Moreover, these complaints represent a sampling of the complaints

posted on NHTSA’s website and other internet sources.

        122. FCA also knew about the Water Intrusion Defect from its warranty

data. Per the TREAD Act, FCA tracks vehicle diagnoses and repairs from dealership

technicians in a single, aggregated database. 46 FCA employs persons who monitor

the database for repair trends, and engineering and management staff review such

trends in regular meetings. For every one complaint filed with NHTSA, FCA likely

receives hundreds or thousands of related warranty claims. 47 Accordingly, FCA has



45
     NHTSA ID 11319184.
 https://www.autosafety.org/wp-
46

content/uploads/import/TREAD%20Fact%20Sheet%2011.24.14.pdf (attached as
Exhibit G).
47
    See, e.g., https://www.reuters.com/article/autos-ford-defect/u-s-nhtsa-probes-
725000-ford-vehicles-for-engine-flaw-idUSL1N0BP51Y20130225 (123 NHTSA
complaints,      27,505     warranty    claims)     (attached  as   Exhibit    H);
https://static.nhtsa.gov/odi/rcl/2022/RCLRPT-22V406-1555.PDF (3 field reports,
1,061         warranty        claims)       (attached       as    Exhibit       I);
https://static.nhtsa.gov/odi/rcl/2020/RCLRPT-20V475-1719.PDF (six field reports,
1,020 warranty claims) (attached as Exhibit J).

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likely received thousands of the Water Intrusion Defect warranty claims, starting in

2016, before Plaintiff Norman purchased her Class Vehicle in 2020.

      123. Further, FCA knew based on complaints and discussions in online

forums, which FCA monitors to track product performance and customer

satisfaction. For example, on 5thgenrams.com, a forum related to the Class Vehicles,

there is a thread started on May 18, 2019, entitled “Water Stained Headliner above

Rear Window” which discusses the Water Intrusion Defect for over five pages, with

dozens of recounts and discussions predating Plaintiff’s purchase. Notably, Ram

Trucks Customer Care—FCA’s customer support division for Ram products—

operates an account on this forum and provides customer support. Similar narratives

and discussions appear in other Ram forums.

      124. The Water Intrusion Defect substantially impairs the use, value, and

safety of the Class Vehicles and renders them substantially less drivable, safe, useful,

and valuable.

      125. As a result of the Water Intrusion Defect, all Class Vehicles are unfit

for the purpose of providing safe and reliable transportation.

      126. Despite FCA’s knowledge of the serious safety and health risks the

Water Intrusion Defect causes in the Class Vehicles, it has not disclosed the Water

Intrusion Defect or provided an adequate repair.




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D.    FCA Touted the Class Vehicles as Safe and Reliable Vehicles While
      Omitting the Water Intrusion Defect

      127. FCA knowingly marketed and sold/leased the Class Vehicles with the

Water Intrusion Defect, while willfully omitting and concealing the true inferior

quality and substandard performance of the Class Vehicles.

      128.    FCA directly markets, for its benefit, the Class Vehicles to consumers

via extensive nationwide multimedia advertising campaigns on television, the

internet, billboards, print, mailings, social media, and other mass media, which

impart a universal and pervasive marketing message: safe and reliable family

vehicles.

      129. For example, in the sales brochure for the 2016 Ram 1500, FCA not

only depicted the Class Vehicles as being durable vehicles that can survive the

elements, but also advertised certain technologies which are casualties of the Water

Intrusion Defect 48:




48
    https://autotrends.org/brochures/2016-ram-1500-brochure.pdf      (attached   as
Exhibit K).

                                        41
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                                     42
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      130. FCA made similar depictions and statements for its 2017 and 2018 Ram

1500 Class Vehicles:49




49
       https://cdn.dealereprocess.org/cdn/brochures/ram/2017-1500.pdf    (2017)
(attached as Exhibit L); https://cdn.dealereprocess.org/cdn/brochures/ram/2018-
1500.pdf (2018) (attached as Exhibit M).

                                      43
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                                     44
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                                     46
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       131. FCA continued its messaging for the 2019 and 2020 RAM 1500 trucks,

stating that it is “The Strongest Ram 1500 Ever,” while depicting its structural

integrity 50:




50
       https://cdn.dealereprocess.org/cdn/brochures/ram/2019-1500.pdf       (2019)
(attached as Exhibit N); https://cdn.dealereprocess.org/cdn/brochures/ram/ca/2020-
1500.pdf (2020) (attached as Exhibit O).

                                       47
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      132.   FCA made similar statements and depictions for the 2021 and 2021

Ram 1500 Trucks51:




51
       https://cdn.dealereprocess.org/cdn/brochures/ram/2021-1500.pdf       (2021)
(attached as Exhibit P); https://cdn.dealereprocess.org/cdn/brochures/ram/ca/2022-
1500.pdf (2022) (attached as Exhibit Q).

                                       48
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      133. The above examples are a representative sampling of FCA’s branding

and marketing of the Class Vehicles.

      134. FCA not only marketed the Class Vehicles as durable and reliable

trucks; FCA has been pervasively branding its trucks the same way for years.



                                       49
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      135. Although FCA markets the Class Vehicles as durable and reliable

trucks, in the field, the Class Vehicles fail to meet that promise. Instead, FCA omits

the true natures of the Class Vehicles and the fact that the Class Vehicles suffer from

the Water Intrusion Defect. FCA has never disclosed the Water Intrusion Defect to

Plaintiffs or the other Class members.

      136. Plaintiffs and the other Class members were exposed to FCA’s

pervasive and long terms marketing campaign touting the supposed quality and

reliability of the Class Vehicles, and Plaintiffs and the other Class members

justifiably made their decisions to purchase or lease their Class Vehicles based on

FCA’s misleading marketing that omitted the Water Intrusion Defect.

      137. FCA has actively concealed the Water Intrusion Defect throughout the

Class period despite its pervasive knowledge. Specifically, FCA has:

             a.     Failed to disclose, at and after the time of purchase, lease, and/or

      service, any and all known material defects of the Class Vehicles, including

      the Water Intrusion Defect;

             b.     Failed to disclose, at and after the time of purchase, lease, and/or

      service, that the Class Vehicles’ suffered the Water Intrusion Defect, were

      defective, and not fit for their intended purposes;

             c.     Failed to disclose, and actively concealed, the fact that the Class

      Vehicles suffered the Water Intrusion Defect and were defective, despite that


                                          50
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      FCA learned of the Water Intrusion Defect as early as 2016 or before, and

      certainly well before Plaintiffs and the other Class members purchased or

      leased their Class Vehicles; and

             d.    Failed to disclose, and actively concealed, the existence and

      pervasiveness of the Water Intrusion Defect even when Class members

      directly asked about it during communications with FCA, FCA dealerships,

      and FCA service centers.

E.    FCA’s Warranties

      138. FCA issued a Limited Vehicle Warranty for the Class Vehicles. FCA

issued its Limited Vehicle Warranty for the benefit of Plaintiffs and the other Class

members, and for the purpose of persuading Plaintiffs and the other Class members

to purchase the Class Vehicles.

      139. The Limited Vehicle Warranty states, in part:

      The Basic Limited Warranty covers the cost of all parts and labor
      needed to repair any item on your vehicle when it left the manufacturing
      plant that is defective in material, workmanship or factory preparation.
      There is no list of covered parts since the only exception are tires and
      Unwired headphones. 52




52
        https://msmownerassets.z13.web.core.windows.net/assets/publications/en-
us/Ram/2019/1500_DT/9706.pdf (attached as Exhibit R).

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           140. The Limited Vehicle Warranty lasts for 36 months or 36,000 miles,

whichever occurs first. 53

           141. The Limited Vehicle Warranty only covers the “rear window” for 12

months or 12,000 miles, whichever occurs first.54

           142. FCA instructs vehicle owners and lessees to bring their vehicles to a

certified dealership for the warranty repairs. Many owners and lessees have

presented Class Vehicles to FCA-certified dealerships with complaints arising from

the Water Intrusion Defect and have been denied free repair.

           143. FCA has evaded its warranty obligations by (1) failing to tell consumers

that the Class Vehicles are defective and (2) refusing to perform repairs to correct

the Water Intrusion Defect.

           144. Moreover, FCA’s warranty fails its essential purpose because it has

failed to offer an effective and permanent repair for the Water Intrusion Defect.

Rather, FCA simply replaces one defective part with an equally defective part and

fails to correct the underlying cause.

           145. Plaintiff provided FCA with written notice on June 3, 2022 via certified

mail, and FCA acknowledged receipt on June 6, 2022.




53
     Id.
54
     Id.

                                             52
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      146. FCA also has notice based on its actual and exclusive knowledge of the

defect.

      147. Moreover, FCA’s failure to effectively repair the Water Intrusion

Defect makes any notice requirement futile.

   F. Relationship between FCA and its Dealerships

      148. Upon information and belief, FCA has impliedly or expressly

acknowledged the relationship between FCA and its authorized dealerships, as is

shown by the following:

      a.      FCA can terminate the relationship with its dealers at will;

      b.      The relationships are indefinite;

      c.      FCA is in the business of selling vehicles as are its dealers;

      d.      FCA controls the marketing of the vehicles;

      e.      FCA provides tools and resources to help FCA dealers sell vehicles;

      f.      FCA supervises its dealers regularly;

      g.      Without FCA, the relevant FCA dealers would not exist;

      h.      FCA requires the following of its dealers:

             i.     Reporting of sales;

            ii.     Computer network connection with FCA;

           iii.     Training of dealers’ sales and technical personnel;

           iv.      Use of FCA-supplied computer software;


                                           53
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             v.       Participation in FCA’s training programs;

            vi.       Establishment and maintenance of service departments in FCA

                      dealerships;

           vii.       Certification of FCA pre-owned vehicles;

           viii.      Reporting to FCA with respect to the car delivery, including

                      reporting Plaintiffs’ names, addresses, preferred titles, primary

                      and business phone numbers, e- mail addresses, vehicle VIN

                      numbers, delivery date, type of sale, lease/finance terms, factory

                      incentive coding, if applicable, vehicles’ odometer readings,

                      extended service contract sale designations, if any, and names of

                      delivering dealership employees; and

            ix.       Displaying FCA logos on signs, literature, products, and

                      brochures within FCA dealerships.

      i.        Dealerships bind FCA with respect to:

              i.      Warranty repairs on the vehicles the dealers sell; and

             ii.      Issuing service contracts administered by FCA.

      j.       FCA further exercises control over its dealers with respect to:

              i.      Financial incentives given to FCA dealer employees;

             ii.      Locations of dealers;




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           iii.     Testing and certification of dealership personnel to ensure

                    compliance with FCA’s policies and procedures; and

           iv.      Customer satisfaction surveys, pursuant to which FCA allocates

                    the number of FCA cars to each dealer, thereby directly

                    controlling dealership profits.

      k.      Dealerships bear FCA’s brand names, use FCA’s logos in advertising

              and on warranty repair orders, post FCA-branded signs for the public

              to see, and enjoy a franchise to sell FCA’s products, including the Class

              Vehicles.

      l.      FCA requires FCA dealers to follow the rules and policies of FCA in

              conducting all aspects of dealer business, including the delivery of

              FCA’s warranties described above, and the servicing of defective

              vehicles such as the Class Vehicles.

      m.      FCA requires its dealers to post FCA’s brand names, logos, and signs

              at dealer locations, including dealer service departments, and to identify

              themselves and to the public as authorized FCA dealers and servicing

              outlets for FCA cars.

      n.      FCA requires its dealers to use service and repair forms containing

              FCA’s brand names and logos.




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      o.    FCA requires FCA dealers to perform FCA’s warranty diagnoses and

            repairs, and to do the diagnoses and repairs according to the procedures

            and policies set forth in writing by FCA.

      p.    FCA requires FCA dealers to use parts and tools either provided by

            FCA, or approved by FCA, and to inform FCA when dealers discover

            that unauthorized parts have been installed on one of FCA’s vehicles.

      q.    FCA requires dealers’ service and repair employees to be trained by

            FCA in the methods of repair of FCA-brand vehicles.

      r.    FCA audits FCA dealerships’ sales and service departments and

            directly contacts the customers of said dealers to determine their level

            of satisfaction with the sale and repair services provided by the dealers;

            dealers are then granted financial incentives or reprimanded depending

            on the level of satisfaction.

      s.    FCA requires its dealers to provide FCA with monthly statements and

            records pertaining, in part, to dealers’ sales and servicing of FCA

            vehicles.

      t.    FCA provides technical service bulletins and messages to its dealers

            detailing chronic defects present in product lines, and repair procedures

            to be followed for chronic defects.




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      u.     FCA provides its dealers with specially trained service and repair

             consultants with whom dealers are required by FCA to consult when

             dealers are unable to correct a vehicle defect on their own.

      v.     FCA requires FCA vehicle owners to go to authorized FCA dealers to

             obtain servicing under FCA warranties.

      w.     FCA dealers are required to notify FCA whenever a car is sold or put

             into warranty service.

G.    Tolling of the Applicable Statutes of Limitation

      149. FCA’s knowing and active concealment and denial of the facts alleged

herein act to toll any applicable statute(s) of limitations. Plaintiffs and the other Class

members could not have reasonably discovered the Water Intrusion Defect within

the time period of any applicable statute of limitations.

      150. In addition, even after Plaintiffs and other Class members contacted

FCA and/or its authorized dealers to repair the Water Intrusion Defect, FCA and/or

its dealers repeatedly and consistently told them the Class Vehicles were not

defective. In fact, FCA has issued several TSBs which fail to disclose the true nature,

cause, and remedy for the Water Intrusion Defect. Rather, FCA simply instructs

technicians to perform a futile repair.

      151. FCA has had, and continues to have, a duty to disclose to Plaintiffs and

the other Class members the true character, quality, and nature of the Class Vehicles,


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including the facts that the Class Vehicles require costly repairs, pose safety

concerns, and have a diminished resale value. As a result of FCA’s active

concealment, any and all applicable statutes of limitations otherwise applicable to

the allegations herein have been tolled.

                       CLASS ACTION ALLEGATIONS

      152. Plaintiff brings this action individually and as a class action pursuant to

Federal Rule of Civil Procedure 23(a), (b)(2), (b)(3), and (c)(4), on behalf of the

following classes:

      The Nationwide Class
      All persons or entities who purchased or leased a Class Vehicle.
      The Alabama Class
      All persons or entities who purchased or leased a Class Vehicle in
      Alabama.

      The California Class
      All persons or entities who purchased or leased a Class Vehicle in
      California.
      The Georgia Class
      All persons or entities who purchased or leased a Class Vehicle in
      Georgia.

      The Texas Class
      All persons or entities who purchased or leased a Class Vehicle in
      Texas.

      153. Excluded from the Classes are Defendant, its affiliates, employees,

officers and directors, persons or entities that purchased the Class Vehicles for




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resale, and the Judge(s) assigned to this case. Plaintiffs reserve the right to modify,

change, or expand the Class definition.

      154. Certification of Plaintiffs’ claims for class-wide treatment is

appropriate because Plaintiffs can prove the elements of their claims on a class-wide

basis using the same evidence as would be used to prove those elements in individual

actions alleging the same claim.

      155. This action has been brought and may be properly maintained on behalf

of each of the Classes proposed herein under Federal Rule of Civil Procedure 23.

      156. Numerosity (Federal Rule of Civil Procedure 23(a)(1)) – The

members of the Class are so numerous that their individual joinder is impracticable.

FCA sold hundreds of thousands of Class Vehicles across the United States. The

number and identity of Class members can be obtained through business records

regularly maintained by Defendant, its employees and agents, and state agencies.

Members of the Class can be notified of the pending action by e-mail and mail,

supplemented by published notice, if necessary.

      157. Commonality and Predominance (Federal Rule of Civil Procedure

23(a)(2)) – There are questions of law and fact common to the Class. These questions

predominate over any questions only affecting individual Class members. The

common legal and factual issues include, but are not limited to:

             a.     whether Defendant engaged in the conduct alleged herein;


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            b.     whether Defendant designed, advertised, marketed, distributed,

      leased, sold, or otherwise placed Class Vehicles into the stream of commerce

      in the United States;

            c.     whether    Defendant       designed,   manufactured,    marketed,

      distributed, leased, sold, or otherwise placed Class Vehicles into the stream of

      commerce in the United States knowing about the Water Intrusion Defect;

            d.     when Defendant learned of the Water Intrusion Defect;

            e.     Whether Defendant concealed the Water Intrusion Defect from

      consumers;

            f.     Whether FCA failed to disclose or omitted the Water Intrusion

      Defect;

            g.     Whether the Water Intrusion Defect is material;

            h.     Whether the class vehicles are merchantable;

            i.     Whether FCA honored its warranty;

            j.     whether Plaintiff and other Class members have been harmed by

      the fraud alleged herein;

            k.     whether Plaintiff and the other Class members overpaid for their

      Class Vehicles;

            l.     whether Plaintiff and the other Class members are entitled to

      damages or other relief; and


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             m.     whether Plaintiffs and the other Class members are entitled to

      equitable relief in the form of rescission of the purchase agreement or other

      injunctive relief and, if so, in what amount.

      158. Typicality (Federal Rule of Civil Procedure 23(a)(3)) – Plaintiffs’

claims are typical of the claims of each of the other Class member of. Plaintiffs, like

all other Class members, have sustained damages arising from FCA’s conduct as

alleged herein. Plaintiffs and the other Class members were and are similarly or

identically harmed by FCA’s unlawful, deceptive, unfair, systematic, and pervasive

pattern of misconduct.

      159. Adequacy (Federal Rule of Civil Procedure 23(a)(4)) – Plaintiffs

will fairly and adequately represent and protect the interests of the other Class

members and has retained counsel who are experienced and competent trial lawyers

in complex litigation and class action litigation. There are no material conflicts

between Plaintiffs’ claims and those of the other Class members that would make

class certification inappropriate. Counsel for the Class will vigorously assert all

Class members’ claims.

      160. Superiority (Federal Rule of Civil Procedure 23(b)(3)) – This suit

may be maintained as a class action under Federal Rule of Civil Procedure 23(b)(3),

because questions of law and fact common to the Class predominate over the

questions affecting only individual Class members and a class action is superior to


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other available means for the fair and efficient adjudication of this dispute. The

damages suffered by individual Class members are small compared to the burden

and expense of individual prosecution of the complex and extensive litigation

needed to address Defendant’s conduct. Further, it would be virtually impossible for

Class members to individually redress effectively the wrongs done to them. Even if

Class members themselves could afford such individual litigation, the court system

could not. In addition, individualized litigation increases the delay and expense to

all parties and to the court system resulting from complex legal and factual issues of

the case. Individualized litigation also presents a potential for inconsistent or

contradictory judgments. By contrast, the class action device presents far fewer

management difficulties; allows the hearing of claims which might otherwise go

unaddressed because of the relative expense of bringing individual lawsuits; and

provides the benefits of single adjudication, economies of scale, and comprehensive

supervision by a single court.

      161. Issues Class: Alternatively, Plaintiffs seek certification pursuant to

Federal Rule of Civil Procedure 23(c)(4) on behalf of the above-defined classes for

some or all the issues identified in the commonality and predominance section,

above, as well as other issues which may be later identified.




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                                     CLAIMS

A.    Claim Brought on Behalf of the Nationwide Class or, Alternatively, the
      Alabama, California, Georgia, and Texas Classes

                           COUNT I
      VIOLATIONS OF THE MAGNUSON-MOSS WARRANTY ACT
                     15 U.S.C. § 2301, et seq.
      162. Plaintiffs incorporate by reference paragraphs 1-161, as if fully set forth

herein.

      163. Plaintiffs bring this claim individually and on behalf of the Nationwide

Class or, alternatively, the Alabama, California, Georgia, and Texas Classes.

      164. Plaintiffs and the other Class members are “consumers” within the

meaning of the Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(3).

      165. FCA is a supplier and warrantor within the meaning of 15 U.S.C.

§§ 2301(4)-(5).

      166. The Class Vehicles are “consumer products” within the meaning of 15

U.S.C. § 2301(1).

      167. FCA’s Limited Warranty is a “written warrant[y]” within the meaning

of 15 U.S.C. § 2301(6).

      168.   FCA breached the express warranties by:

             a.     selling and leasing Class Vehicles with the Water Intrusion

      Defect, requiring repair or replacement within the warranty period; and




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             b.     refusing and/or failing to honor the express warranties by

      repairing or replacing, free of charge, the vehicles’ component parts in order

      to remedy the Water Intrusion Defect.

      169.    Plaintiffs and the other Class members relied on the existence and

length of the express warranties in deciding whether to purchase or lease the Class

Vehicles.

      170. FCA’s breach of the express warranties has deprived Plaintiffs and the

other Class members of the benefit of their bargain.

      171. The amount in controversy of Plaintiffs’ individual claims meets or

exceeds the sum or value of $25.000. In addition, the amount in controversy meets

or exceeds the sum or value of $50,000 (exclusive of interests and costs) computed

on the basis of all claims to be determined in this suit.

      172. FCA has been afforded a reasonable opportunity to cure their breach of

the written warranties and/or Plaintiffs and the other Class members were not

required to do so because affording FCA a reasonable opportunity to cure their

breach of written warranties would have been futile. FCA was also on notice of the

alleged defect from the complaints and service requests it received from Class

members, as well as from their own warranty claims, customer complaint data,

and/or parts sales data. Moreover, Plaintiff Norman provided FCA written notice of

her claims on June 3, 2022 via certified mail, and FCA acknowledged receipt on


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June 6, 2022. Additionally, Plaintiffs Creech, Jones, and McFarland, individually

and on behalf of the other Nationwide, California, Georgia, and Texas Class

members, notified FCA of the Water Intrusion Defect—and FCA’s corresponding

breach of warranty—through notice letters dated August 30, 2022 (Jones),

September 14, 2022 (Creech), and September 28, 2022 (McFarland), and sent by

United States Certified Mail to FCA through its counsel. FCA was also provided

notice of the Water Intrusion Defect through numerous complaints filed against it

directly and through its dealers as well as its own internal engineering knowledge.

      173. As a direct and proximate cause of FCA’s breach of the written

warranties, Plaintiffs and the other Class members sustained damages and other

losses in an amount to be determined at trial. FCA’s conduct damaged Plaintiffs and

the other Class members, who are entitled to recover actual damages, consequential

damages, specific performance, diminution in value, costs, including statutory

attorney fees and/or other relief as deemed appropriate.

B.    Claims Brought on Behalf of the Alabama Class

                                  COUNT II
           Violations of the Alabama Deceptive Trade Practices Act
                           Ala. Code §§ 8-9-1, et seq.

      174. Plaintiff Norman (“Plaintiff,” for purposes of the Alabama Class’s

claims) incorporates by reference paragraphs 1-161 as if fully set forth herein.




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      175. Plaintiff brings this claim individually and on behalf of the Alabama

Class (the “Class,” for purposes of this Count).

      176. FCA, Plaintiff, and the other Class members are “persons” within the

meaning of Ala. Code § 8-19-3(5). Plaintiff and the other Class members are

“consumers” within the meaning of Ala. Code § 8-19-3(2).

      177. The Class Vehicles are “goods” within the meaning of Ala. Code § 8-

19-3(3).

      178. FCA is engaged in “trade” or “commerce” within the meaning of Ala.

Code § 8-19-3(8).

      179. The Alabama Deceptive Trade Practices Act (ADTPA), Ala. Code. §

8-19-5, prohibits “[e]ngaging in . . . unconscionable, false, or deceptive act[s] or

practice[s] in business, commerce, or trade.”

      180. By the conduct described in detail above and incorporated herein, FCA

engaged in unfair or deceptive acts in violation of Ala. Code. § 8-19-5.

      181. FCA’s omissions regarding the true nature of the Class Vehicles as well

as the Water Intrusion Defect, a serious safety and health risk, are material facts a

reasonable consumer would want to know and would have considered in deciding

whether or not to purchase the vehicle or pay the same price.

      182.   FCA intended for Plaintiff and the other Class members to rely on

FCA’s omissions of fact regarding the Water Intrusion Defect.


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      183. Plaintiff and the other Class members justifiably acted or relied to their

detriment upon FCA’s omissions of fact concerning the true nature of the Class

Vehicles as well as the Water Intrusion Defect, as evidenced by Plaintiff’s purchase

of her vehicle.

      184.    Had FCA disclosed all material information regarding the true nature

of the Class Vehicles as well as the Water Intrusion Defect to Plaintiff and the other

Class members, then Plaintiff and the other Class members would not have

purchased or leased the vehicle or would have paid less to do so.

      185. FCA’s omissions deceived Plaintiff and the other Class members.

      186. In addition to being deceptive, the business practices of FCA were

unfair because FCA knowingly sold to Plaintiff and the other Class members

defective vehicles that are essentially unusable for the purposes for which they were

sold. The injuries to Plaintiff and the other Class members are substantial and greatly

outweigh any alleged countervailing benefit to Plaintiff and the other Class members

or to any competition under all of the circumstances. Moreover, in light of FCA’s

exclusive knowledge of the true nature of the Class Vehicles as well as the Water

Intrusion Defect, the injury is not one that Plaintiff could have reasonably avoided.

      187. Further, and to the extent required by law, FCA had a duty to disclose

the true nature of the Class Vehicles as well as the Water Intrusion Defect because

disclosure was necessary to dispel misleading impressions about the Class Vehicles’


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reliability and durability that were or might have been created by partial

representation of the facts. Specifically, FCA promoted, through its advertisements

available to all Class members, that the vehicles were reliable and durable. FCA also

disclosed information concerning the Class Vehicles in window stickers associated

with the Class Vehicles, without disclosing that they contained an inherent defect

that would be material to any purchaser or lessee. Specifically, FCA owed Plaintiff

and the Class members a duty to disclose all the material facts concerning the Water

Intrusion Defect because it possessed exclusive knowledge, it intentionally

concealed the true nature of the Class Vehicles as well as the Water Intrusion Defect

from Plaintiff and the other Class members, and/or it made misrepresentations that

were rendered misleading because they were contradicted by withheld facts.

      188.    FCA’s unfair or deceptive acts or practices were likely to, and did, in

fact, deceive consumers, including Plaintiff and the other Class members, about the

true reliability, dependability, efficiency, and quality of the Class Vehicles.

      189. FCA’s violations present a continuing risk to Plaintiff and the other

Class members, as well as to the general public. FCA’s unlawful acts and practices

complained of herein affect the public interest.

      190. Plaintiff and the other Class members suffered ascertainable loss and

actual damages as a direct result of FCA’s concealment of and failure to disclose

material information, namely, the Water Intrusion Defect. Plaintiff and the other


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Class members who purchased or leased the Class Vehicles would not have done so,

or would have paid significantly less, if the true nature of the Class Vehicles had

been disclosed. Plaintiff and the other Class members also suffered diminished value

of their vehicles.

      191. Pursuant to Ala. Code § 8-19-10, Plaintiff and the other Class members

seek an order enjoining FCA’s unfair and/or deceptive acts or practices and awarding

damages, treble damages, and any other just and proper relief available under the

ADTPA.

      192. Plaintiff provided FCA with written notice on June 3, 2022 via certified

mail, and FCA acknowledged receipt on June 6, 2022.

                                 COUNT III
                     BREACH OF EXPRESS WARRANTY
                      Ala. Code §§ 7-2-313 and 7-2A-210

      193.    Plaintiff Norman (“Plaintiff,” for purposes of the Alabama Class’s

claims) incorporates by reference paragraphs 1-161 as if fully set forth herein.

      194. Plaintiff brings this claim individually and on behalf of the Alabama

Class (the “Class,” for purposes of this Count).

      195.    FCA is and was at all relevant times a “merchant” with respect to motor

vehicles under Ala. Code §§ 7-2-104(1) and 7-2A-103(3), and a “seller” of motor

vehicles under § 7-2-103(1)(d).




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      196. The Class Vehicles are and were at all relevant times “goods” within

the meaning of Ala. Code §§ 7-2-105(1) and 7-2A-103(1)(h).

      197. FCA expressly warranted in its 2016 Basic Limited Warranty that it

would “cover[] the cost of all parts and labor needed to repair any item on [the]

vehicle when it left the manufacturing plant that is defective in material,

workmanship or factory preparation.”

      198.   FCA’s Limited Warranty formed the basis of the bargain that was

reached when Plaintiff and the other Class members purchased or leased their Class

Vehicles.

      199. FCA breached the express warranty by failing to timely and adequately

repair the Water Intrusion Defect.

      200. Further, to the extent that the Limited Warranty is construed to be

limited to vehicle defects related to materials or workmanship, FCA has breached

the Limited Warranty.

      201. The Water Intrusion Defect is a uniform defect that is related to

materials.

      202. Specifically, the seals in the Class Vehicles are materials and they could

suffer from inordinate wear or degradation.

      203. FCA has not repaired, and has been unable to repair, the Water

Intrusion Defect.


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      204.   The Limited Warranty fails in its essential purpose because the

contractual remedy is insufficient to make Plaintiff and the other Class members

whole and because FCA has failed and/or has refused to adequately provide the

promised remedies within a reasonable time.

      205. Accordingly, recovery by Plaintiff and the other Class members is not

limited to the limited warranty of repair to parts defective in materials and

workmanship, and Plaintiff, individually and on behalf of the other Class members,

seek all remedies as allowed by law.

      206. Also, as alleged in more detail herein, at the time that FCA warranted

and sold the Class Vehicles it knew that the Class Vehicles did not conform to the

warranty and were inherently defective, and FCA improperly concealed material

facts regarding its Class Vehicles. Plaintiff and the other Class members were,

therefore, induced to purchase or lease the Class Vehicles under false pretenses.

      207. Moreover, much of the damage flowing from the Class Vehicles cannot

be resolved through the limited remedy of repairs, as those incidental and

consequential damages have already been suffered due to FCA’s improper conduct

as alleged herein, and due to its failure and/or continued failure to provide such

limited remedy within a reasonable time, and any limitation on Plaintiff’s and the

other Class members’ remedies would be insufficient to make Plaintiff and the other

Class members whole.


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      208. As a direct and proximate result of FCA’s breach of express warranty,

Plaintiff and the other Class members have been damaged in an amount to be

determined at trial.

      209. Plaintiff provided FCA with written notice on June 3, 2022 via certified

mail, and FCA acknowledged receipt on June 6, 2022.

                            COUNT IV
      BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                 Ala. Code §§ 7-2-314 and 7-2A-212

      210.    Plaintiff Norman (“Plaintiff,” for purposes of the Alabama Class’s

claims) incorporates by reference paragraphs 1-161 as if fully set forth herein.

      211. Plaintiff brings this claim individually and on behalf of the Alabama

Class (the “Class,” for purposes of this Count).

      212.    FCA is and was at all relevant times a “merchant” with respect to motor

vehicles under Alabama Code §§ 7-2-104(1) and 7-2A-103(3) and a “seller” of

motor vehicles under § 7-2-103(1)(d).

      213. With respect to leases, FCA is and was at all relevant times a “lessor”

of motor vehicles under Alabama Code. § 7-2A-103(1)(p).

      214. The Class Vehicles are and were at all relevant times “goods” within

the meaning of Alabama Code §§ 7-2-105(1) and 7-2A-103(1)(h).




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      215. A warranty that the Class Vehicles were in merchantable condition and

fit for the ordinary purpose for which vehicles are used is implied by law pursuant

to Alabama Code §§ 7-2-314 10 and 7-2A-212.

      216. The Class Vehicles are defective because of the Water Intrusion Defect,

causing sever health and safety concerns.

      217. The Water Intrusion Defect existed at the time the Class Vehicles left

control of FCA.

      218. Based upon these defects, FCA has failed to meet the expectations of a

reasonable consumer. The Class Vehicles are unfit for their ordinary, intended use,

and do not pass without objection in the trade because they suffer from the Water

Intrusion Defect, which causes foul odors, mold, mildew, electrical failures and

airbag damage.

      219. Plaintiff provided FCA with written notice on June 3, 2022 via certified

mail, and FCA acknowledged receipt on June 6, 2022.

      220. Moreover, notice is futile because FCA has continually failed to

provide adequate remedies to Plaintiff and the other Class members.

      221. The above-described defects in the Class Vehicles were the direct and

proximate cause of economic damages to Plaintiff and the other Class members.




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                                COUNT V
                           FRAUDULENT OMISSION

      222. Plaintiff Norman (“Plaintiff,” for purposes of the Alabama Class’s

claims) incorporates by reference paragraphs 1-161 as if fully set forth herein.

      223. Plaintiff brings this claim individually and on behalf of the Alabama

Class (the “Class,” for purposes of this Count).

      224.   FCA was aware of the true nature of the Class Vehicles as well as the

Water Intrusion Defect when it marketed and sold the Class Vehicles to Plaintiff and

the other Class members.

      225. Having been aware of the true nature of the Class Vehicles as well as

the Water Intrusion Defect and having known that Plaintiff and the other Class

members could not have reasonably been expected to know this information, FCA

had a duty to disclose the true nature of the Class Vehicles as well as the Water

Intrusion Defect to Plaintiff and the other Class members in connection with the sale

or lease of the Class Vehicles.

      226. Further, FCA had a duty to disclose the true nature of the Class Vehicles

as well as the Water Intrusion Defect because disclosure was necessary to dispel

misleading impressions about the Class Vehicles’ reliability and durable that were

or might have been created by partial representation of the facts. Specifically, FCA

promoted, through its advertisements available to all Class members, that the

vehicles were reliable and durable. FCA also disclosed information in window


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stickers associated with the Class Vehicles, without disclosing the true nature of the

Class Vehicles as well as the Water Intrusion Defect, an inherent defect that would

be material to any purchaser or lessee.

      227. FCA did not disclose the true nature of the Class Vehicles as well as

the Water Intrusion Defect to Plaintiff and the other Class members in connection

with the sale or lease of the Class Vehicles.

      228. For the reasons set forth above, the true nature of the Class Vehicles as

well as the Water Intrusion Defect comprises material information with respect to

the sale or lease of the Class Vehicles.

      229. In purchasing or leasing the Class Vehicles, Plaintiff and the other Class

members reasonably relied on FCA to disclose known material defects with respect

to the Class Vehicles. Had Plaintiff and the other Class members known of the true

nature of the Class Vehicles as well as the Water Intrusion Defect, they would have

not purchased the Class Vehicles or would have paid less for the Class Vehicles.

      230. Through its omissions regarding the true nature of the Class Vehicles

as well as the latent Water Intrusion Defect, FCA intended to induce, and did induce,

Plaintiff and the other Class members to purchase or lease a Class Vehicle that they

otherwise would not have purchased, or to pay more for a Class Vehicle than they

otherwise would have paid.




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      231. As a direct and proximate result of FCA’s omissions, Plaintiff and the

other Class members either paid too much for the Class Vehicles or would not have

purchased the Class Vehicles if the true nature of the Class Vehicles as well as the

Water Intrusion Defect had been disclosed to them, and, therefore, have incurred

damages in an amount to be determined at trial.

C.    Claims Brought on Behalf of the California Class

                           COUNT VI
  VIOLATION OF THE CALIFORNIA CONSUMER LEGAL REMEDIES
                              ACT
                  Cal. Civ. Code §§ 1750 et seq.
      232. Plaintiff Creech (“Plaintiff,” for purposes of the California Class’s

claims) incorporates by reference paragraphs 1-161 as if fully set forth herein.

      233.    Plaintiff brings this claim individually and on behalf of the California

Class (the “Class,” for purposes of this Count).

      234. Plaintiff and the other Class members were deceived by FCA’s failure

to disclose the true nature of the Class Vehicles as well as the Water Intrusion Defect.

      235. FCA engaged in unfair or deceptive acts or practices when, in the courts

of its business, it knowingly omitted material facts as to the characteristics and

qualities of the Class Vehicles.

      236. FCA failed to disclose material information concerning the Class

Vehicles that it had a duty to disclose. FCA had a duty to disclose the true nature of

the Class Vehicles as well as the Water Intrusion Defect because, as detailed above:


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(a) FCA knew about the Water Intrusion Defect; (b) FCA had exclusive knowledge

regarding the Water Intrusion Defect that was not known to the general public,

Plaintiff, or the other Class members; and (c) FCA actively concealed material facts

concerning the Water Intrusion Defect from the general public, Plaintiff, and the

other Class members. As detailed above, the information concerning the defect was

known to FCA at the time of advertising and selling the Class Vehicles, all of which

was intended to induce consumers to purchase or lease the Class Vehicles.

      237. FCA intended for Plaintiff and the other Class members to rely on it to

provide adequately designed and adequately manufactured automobiles and to

honestly and accurately reveal the problems described throughout this Complaint.

      238. FCA intentionally failed or refused to disclose the true nature of the

Class Vehicles as well as the Water Intrusion Defect to consumers.

      239. FCA’s deceptive omissions were intended to induce Plaintiff and the

other Class members to believe that the Class Vehicles were adequately designed

and manufactured.

      240. FCA’s conduct constitutes unfair acts or practices as defined by the

California Consumer Legal Remedies Act. Cal. Civ. Code § 1770.

      241. Plaintiff and the other Class members have suffered injury in fact and

actual damages resulting from FCA’s material omissions because they paid inflated

purchase prices for the Class Vehicles. Plaintiff and the other Class members are


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entitled to recover actual damages, punitive damages, costs and attorneys’ fees, and

all other relief that the Court deems proper under California Civil Code § 1780.

      242. In accordance with California Civil Code § 1782, Plaintiffs’ counsel

sent a certified letter to FCA on September 14, 2022 notifying FCA of its § 1770

violations. Pursuant to § 1782 of the Act, FCA is thereby on notice of its particular

§ 1770 violations and Plaintiffs’ demands that (a) FCA rectify the problems

associated with the actions detailed above and (b) FCA give notice to all affected

consumers of FCA’s intent to rectify said problems.

      243. Pursuant to California Civil Code § 1780(d), an affidavit showing that

this action has been commenced in the proper forum is attached hereto as Exhibit S.

                          COUNT VII
 VIOLATION OF THE SONG-BEVERLY CONSUMER WARRANTY ACT
            FOR BREACH OF EXPRESS WARRANTY
                  Cal. Civ. Code §§ 1790 et seq.

      244. Plaintiff Creech (“Plaintiff,” for purposes of the California Class’s

claims) incorporates by reference paragraphs 1-161 as if fully set forth herein.

      245. Plaintiff brings this claim individually and on behalf of the California

Class (the “Class,” for purposes of this Count).

      246. Plaintiff and the other Class members are “buyers” within the meaning

of California Civil Code § 1791.

      247. The Class Vehicles are “consumer goods” within the meaning of

California Civil Code § 1791.


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      248. FCA is a “manufacturer” of the Class Vehicles within the meaning of

California Civil Code § 1791.

      249. Plaintiff and the other Class members bought or leased Class Vehicles

manufactured by FCA.

      250. As described above, FCA made an express warranty to Plaintiff and the

other Class members within in the meaning of California Civil Code §§ 1791.2 and

1793.2.

      251. The Class Vehicles share a common design and/or manufacturing

defect in that they have the Water Intrusion Defect which caused the above-

described leakage resulting in foul odors, mold, mildew, electrical failures and

airbag damage.

      252. The Class Vehicles are covered by FCA’s express warranty. The Water

Intrusion Defect substantially impairs the use, value, and safety of the Class Vehicles

to reasonable consumers, including Plaintiff and the other Class members.

      253. Plaintiff, individually and on behalf of the other Class members,

notified FCA of the Water Intrusion Defect—and FCA’s corresponding breach of

warranty—through a notice letter dated September 14, 2022 and sent by United

States Certified Mail to FCA through its counsel. FCA was also provided notice of

the Water Intrusion Defect through numerous complaints filed against it directly and

through its dealers as well as its own internal engineering knowledge.


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      254. FCA has had the opportunity to cure the defect in the Class Vehicles,

but it has chosen not to do so. Giving FCA a chance to cure the defect is not

practicable in this case and would serve only to delay this litigation unnecessarily.

      255. As a result of FCA’s breach of its express warranty, Plaintiff and the

other Class members received goods with substantially impaired value. Plaintiff and

the other Class members have been damaged by the diminished value of the Class

Vehicles resulting from the Water Intrusion Defect.

      256. Pursuant to California Civil Code §§ 1793.2 and 1794, Plaintiff and the

other Class members are entitled to damages and other legal and equitable relief

including, at their election, the purchase price of their Class Vehicles or the

overpayment or diminution in value of their Class Vehicles.

      257. Pursuant to California Civil Code § 1794, Plaintiff and the other Class

members are entitled to costs and attorneys’ fees.

                          COUNT VIII
 VIOLATION OF THE SONG-BEVERLY CONSUMER WARRANTY ACT
            FOR BREACH OF IMPLIED WARRANTY
                  Cal. Civ. Code §§ 1790 et seq.

      258. Plaintiff Creech (“Plaintiff,” for purposes of the California Class’s

claims) incorporates by reference paragraphs 1-161 as if fully set forth herein.

      259. Plaintiff brings this claim individually and on behalf of the California

Class (the “Class,” for purposes of this Count).




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        260. Plaintiff and the other Class members who purchased their Class

Vehicles in California are “buyers” within the meaning of California Civil Code §

1791.

        261. The Class Vehicles are “consumer goods” within the meaning of

California Civil Code § 1791.

        262. FCA is a “manufacturer” of the Class Vehicles within the meaning of

California Civil Code § 1791.

        263. FCA impliedly warranted to Plaintiff and the other Class members that

the Class Vehicles were “merchantable” within the meaning of California Civil Code

§§ 1791.1(a) and 1792.

        264. California Civil Code § 1791.1(a) states, “Implied warranty of

merchantability” or “implied warranty that goods are merchantable” means that the

consumer goods meet each of the following requirements: (1) pass without objection

in the trade under the contract description; (2) are fit for the ordinary purposes for

which such goods are used; (3) are adequately contained, packaged, and labeled; and

(4) conform to the promises or affirmations of fact made on the container or label.

        265. The Class Vehicles would not pass without objection in the automotive

trade because they share a common design and/or manufacturing defect, the Water

Intrusion Defect, which causes foul odors, mold, mildew, electrical failures and

airbag damage.


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      266. Because of the Water Intrusion Defect, the Class Vehicles are not fit

for their ordinary purposes.

      267. The Class Vehicles were not adequately labeled because the labeling

failed to disclose the defects described herein.

      268. Plaintiff, individually and on behalf of the other Class members,

notified FCA of the Water Intrusion Defect—and FCA’s corresponding breach of

warranty—through a notice letter dated September 14, 2022 and sent by United

States Certified Mail to FCA through its counsel. FCA was also provided notice of

the Water Intrusion Defect through numerous complaints filed against it directly and

through its dealers as well as its own internal engineering knowledge.

      269. FCA has had the opportunity to cure the defect in the Class Vehicles,

but it has chosen not to do so. Giving FCA a chance to cure the defect is not

practicable in this case and would serve only to delay this litigation unnecessarily.

      270. As a result of FCA’s breach of its implied warranty, Plaintiff and the

other Class members received goods with substantially impaired value. Plaintiff and

the other Class members have been damaged as a result of the diminished value of

the Class Vehicles.

      271. Under California Civil Code §§ 1791.1(d) and 1794, Plaintiff and the

other Class members are entitled to damages and other legal and equitable relief




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including, at their election, the purchase price of their Class Vehicles or the

overpayment or diminution in value of their Class Vehicles.

      272. Under California Civil Code § 1794, Plaintiff and the other Class

members are entitled to costs and attorneys’ fees.

                                COUNT IX
                           FRAUDULENT OMISSION

      273. Plaintiff Creech (“Plaintiff,” for purposes of the California Class’s

claims) incorporates by reference paragraphs 1-161 as if fully set forth herein.

      274. Plaintiff brings this claim individually and on behalf of the California

Class (the “Class,” for purposes of this Count).

      275. FCA was aware of the true nature of the Class Vehicles as well as the

Water Intrusion Defect when it marketed and sold the Class Vehicles to Plaintiff and

the other Class members.

      276. Having been aware of the true nature of the Class Vehicles as well as

the Water Intrusion Defect—and having known that Plaintiff and the other Class

members could not have reasonably been expected to know this information—FCA

had a duty to disclose the defect to Plaintiff and the other Class Members in

connection with the sale or lease of the Class Vehicles.

      277. FCA did not disclose the true nature of the Class Vehicles as well as

the Water Intrusion Defect to Plaintiff and the other Class members in connection

with the sale or lease of the Class Vehicles.


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      278. For reasons set forth above, the Water Intrusion Defect concerns

material information with respect to the sale or lease of the Class Vehicles.

      279. In purchasing the Class Vehicles, Plaintiff and other Class members

reasonably relied on FCA to disclose known material defects with respect to the

Class Vehicles.

      280. Had Plaintiff and the other Class members known of the true nature of

the Class Vehicles as well as the Water Intrusion Defect, they would not have

purchased the Class Vehicles or would have paid less for the Class Vehicles.

      281. Through its omissions regarding the true nature of the Class Vehicles

as well as the Water Intrusion Defect, FCA intended to induce—and did induce—

Plaintiff and the other Class members either to purchase a Class Vehicle that they

otherwise would not have purchased or to pay more for a Class Vehicle than they

otherwise would have paid.

      282. As a direct and proximate result of FCA’s omissions, Plaintiff and the

other Class members either overpaid for the Class Vehicles or would not have

purchased the Class Vehicles at all if FCA had disclosed the true nature of the Class

Vehicles as well as the Water Intrusion Defect to them. Plaintiff and the other Class

members have therefore incurred damages in an amount to be determined at trial.




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                                 COUNT X
                            UNJUST ENRICHMENT

      283. Plaintiff Creech (“Plaintiff,” for purposes of the California Class’s

claims) incorporates by reference paragraphs 1-161 as if fully set forth herein.

      284. Plaintiff brings this claim individually and on behalf of the California

Class (the “Class,” for purposes of this Count).

      285. FCA has benefited from selling and leasing at an unjust profit defective

Class Vehicles that had artificially inflated prices due to FCA’s concealment of the

true nature of the Class Vehicles as well as the Water Intrusion Defect, and Plaintiff

and the other Class members have overpaid for these vehicles.

      286. FCA has received and retained unjust benefits from Plaintiff and the

other Class members, and inequity has resulted.

      287. It is inequitable and unconscionable for FCA to retain these benefits.

      288. Because FCA concealed its fraud and deception, Plaintiff and the other

Class members were not aware of the true facts concerning the Class Vehicles and

did not benefit from FCA’s misconduct.

      289. FCA knowingly accepted the unjust benefits of its misconduct.

      290. As a result of FCA’s misconduct, the amount of its unjust enrichment

should be disgorged and returned to Plaintiff and the other Class members in an

amount to be determined at trial.




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                           COUNT XI
   VIOLATION OF THE CALIFORNIA UNFAIR COMPETITION LAW
              Cal. Bus. & Prof. Code §§ 17200 et seq.
      291. Plaintiff Creech (“Plaintiff,” for purposes of the California Class’s

claims) incorporates by reference paragraphs 1-161 as if fully set forth herein.

      292. Plaintiff brings this claim individually and on behalf of the California

Class (the “Class,” for purposes of this Count).

      293. California Business and Professions Code § 17200 prohibits “unlawful,

unfair, or fraudulent business acts or practices.”

      294. FCA’s conduct violated several statutes and the common law as alleged

herein.

      295. FCA has violated § 17200 by knowingly selling Class Vehicles that

include the Water Intrusion Defect and omitting disclosure of this defect to

consumers.

      296. FCA’s conduct was unscrupulous, offended established public policy,

and was fraudulent.

      297. The harm caused by FCA’s conduct greatly outweighs any benefit to

consumers.

      298. Plaintiff and the other Class members relied on the omissions of FCA

with respect to the quality and reliability of the Class Vehicles. Plaintiff and the other




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Class members would not have purchased or leased their Class Vehicles and/or

would not have paid as much for them but for FCA’s omissions.

      299. FCA concealed and failed to disclose material information about the

Class Vehicles in a manner that is likely to—and did—deceive consumers and the

public.

      300. All of the misconduct alleged herein occurred in the conduct of FCA’s

business.

      301. Plaintiff, individually and on behalf of the other Class members,

requests that this Court restore to Plaintiff and the other Class members any money

acquired by FCA’s unfair competition, including restitution and/or restitutionary

disgorgement.

D.    Claims Brought on Behalf of the Georgia Class

                           COUNT XII
      VIOLATION OF GEORGIA FAIR BUSINESS PRACTICES ACT
                    Ga. Code §§ 10-1-390 et seq.
      302. Plaintiff Jones (“Plaintiff,” for purposes of the Georgia Class’s claims)

incorporates by reference paragraphs 1-161 as if fully set forth herein.

      303. Plaintiff brings this claim individually and on behalf of the Georgia

Class (the “Class,” for purposes of this Count).




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      304. The Georgia Fair Business Practices Act states, “Unfair or deceptive

acts or practices in the conduct of consumer transactions and consumer acts or

practices in trade or commerce are declared unlawful.” Ga. Code § 10-1-393.

      305. By the conduct described in detail above and incorporated herein, FCA

engaged in unfair and deceptive trade practices.

      306. FCA’s omissions regarding the true nature of the Class Vehicles as well

as the Water Intrusion Defect, as described above, are omissions of material facts

that a reasonable person would have considered in deciding whether to purchase or

pay the same price for the Class Vehicles.

      307. FCA intended for Plaintiff and the other Class members to rely on

FCA’s omissions regarding the true nature of the Class Vehicles as well as the Water

Intrusion Defect.

      308. Plaintiff and the other Class members justifiably acted or relied to their

detriment on FCA’s omissions of fact concerning the true nature of the Class

Vehicles as well as the above-described Water Intrusion Defect, as evidenced by

Plaintiff and the other Class members’ purchases of the Class Vehicles.

      309. Had FCA disclosed all material information regarding the true nature

of the Class Vehicles as well as the Water Intrusion Defect, Plaintiff and the other

Class members would not have purchased or leased the Class Vehicles or would

have paid less to do so.


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      310. FCA’s omissions have deceived Plaintiff and have deceived or are

likely to deceive other Class members and members of the consuming public.

      311. In addition to being deceptive, FCA’s business practices were unfair

because FCA knowingly sold Plaintiff and the other Class members Class Vehicles

with the Water Intrusion Defect that are essentially unusable for the purposes for

which they were sold. The injuries to Plaintiff and the other Class members are

substantial and greatly outweigh any alleged countervailing benefit to Plaintiff and

the other Class members or to competition under all of the circumstances. Moreover,

in light of FCA’s exclusive knowledge of the true nature of the Class Vehicles as

well as the Water Intrusion Defect, the injury is not one that Plaintiff or the other

Class members could have reasonably avoided.

      312. As a direct and proximate result of FCA’s unfair and deceptive trade

practices, Plaintiff and the other Class members have suffered ascertainable loss and

actual damages. Plaintiff and the other Class members who purchased or leased the

Class Vehicles would not have purchased or leased the Class Vehicles or would have

paid less for them had the truth about the true nature of the Class Vehicles as well as

the Water Intrusion Defect been disclosed. Plaintiff and the other Class members

also suffered diminished value of their vehicles. Plaintiff and the other Class

members are entitled to recover actual damages, attorneys’ fees and costs, and all

other relief allowed under Georgia Statutes § 10-1-399.


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                                COUNT XIII
                     BREACH OF EXPRESS WARRANTY
                      Ga. Code §§ 11-2-313 and 11-2A-210
      313. Plaintiff Jones (“Plaintiff,” for purposes of the Georgia Class’s claims)

incorporates by reference paragraphs 1-161 as if fully set forth herein.

      314. Plaintiff brings this claim individually and on behalf of the Georgia

Class (the “Class,” for purposes of this Count).

      315. FCA is and was at all relevant times a “merchant” with respect to the

Class Vehicles within the meaning of Georgia Code § 11-2-104(1).

      316. The Class Vehicles are and were at all relevant times “goods” within

the meaning of Georgia Code §§ 11-2-105(1) and 11-2A-103(1)(h).

      317. FCA expressly warranted in its 2016 Basic Limited Warranty that it

would “cover[] the cost of all parts and labor needed to repair any item on [the]

vehicle when it left the manufacturing plant that is defective in material,

workmanship or factory preparation.”

      318.   FCA’s Limited Warranty formed the basis of the bargain that was

reached when Plaintiff and the other Class members purchased or leased their Class

Vehicles with the Water Intrusion Defect.

      319. FCA breached the express warranty by failing to timely and adequately

repair the Water Intrusion Defect.




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      320. Further, to the extent that the Limited Warranty is construed to be

limited to vehicle defects related to materials or workmanship, FCA has breached

the Limited Warranty.

      321. The Water Intrusion Defect is a uniform defect that is related to

materials.

      322. Specifically, the seals in the Class Vehicles are materials and they could

suffer from inordinate wear or degradation.

      323. FCA has not repaired, and has been unable to repair, the Water

Intrusion Defect.

      324. Plaintiff, individually and on behalf of the other Class members,

notified FCA of the Water Intrusion Defect—and FCA’s corresponding breach of

warranty—through a notice letter dated August 30, 2022 and sent by United States

Certified Mail to FCA through its counsel. FCA was also provided notice of the

Water Intrusion Defect through numerous complaints filed against it directly and

through its dealers as well as its own internal engineering knowledge.

      325. The Limited Warranty fails in its essential purpose because the

contractual remedy is insufficient to make Plaintiff and the other Class members

whole and because FCA has failed and/or has refused to adequately provide the

promised remedies within a reasonable time.




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      326. Accordingly, recovery by Plaintiff and the other Class members is not

limited to the limited warranty of repair to parts defective in materials and

workmanship, and Plaintiff, individually and on behalf of the other Class members,

seek all remedies as allowed by law.

      327. Additionally, as alleged in more detail herein, at the time that FCA

warranted and sold the Class Vehicles it knew that the Class Vehicles did not

conform to the warranty and were inherently defective, and FCA improperly

concealed material facts regarding its Class Vehicles. Plaintiff and the other Class

members were, therefore, induced to purchase or lease the Class Vehicles under false

pretenses.

      328. Moreover, much of the damage flowing from the Class Vehicles cannot

be resolved through the limited remedy of repairs, as those incidental and

consequential damages have already been suffered due to FCA’s improper conduct

as alleged herein, and due to its failure and/or continued failure to provide such

limited remedy within a reasonable time, and any limitation on Plaintiff’s and the

other Class members’ remedies would be insufficient to make Plaintiff and the other

Class members whole.

      329. As a direct and proximate result of FCA’s breach of express warranty,

Plaintiff and the other Class members have been damaged in an amount to be

determined at trial.


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                          COUNT XIV
     BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                Ga. Code §§ 11-2-314 and 11-2A-212
      330. Plaintiff Jones (“Plaintiff,” for purposes of the Georgia Class’s claims)

incorporates by reference paragraphs 1-161 as if fully set forth herein.

      331. Plaintiff brings this claim individually and on behalf of the Georgia

Class (the “Class,” for purposes of this Count).

      332. FCA is and was at all relevant times a “merchant” with respect to the

Class Vehicles within the meaning of Georgia Code § 11-2-104(1) and a “lessor”

within the meaning of Georgia Code § 11-2A-103(1)(p).

      333. The Class Vehicles are and were at all relevant times “goods” within

the meaning of Georgia Code §§ 11-2-105(1) and 11-2A-103(1)(h).

      334. A warranty that the Class Vehicles were in merchantable condition and

fit for the ordinary purpose for which vehicles are used is implied by law pursuant

to Georgia Code §§ 11-2-314 and 11-2A-212.

      335. The Class Vehicles are defective because of the Water Intrusion Defect,

causing severe health and safety concerns.

      336. The Water Intrusion Defect existed at the time the Class Vehicles left

control of FCA.

      337. Based upon these defects, FCA has failed to meet the expectations of a

reasonable consumer. The Class Vehicles are unfit for their ordinary, intended use,



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and do not pass without objection in the trade because they suffer from the Water

Intrusion Defect, which causes foul odors, mold, mildew, electrical failures and

airbag damage.

      338. Plaintiff, individually and on behalf of the other Class members,

notified FCA of the Water Intrusion Defect—and FCA’s corresponding breach of

warranty—through a notice letter dated August 30, 2022 and sent by United States

Certified Mail to FCA through its counsel. FCA was also provided notice of the

Water Intrusion Defect through numerous complaints filed against it directly and

through its dealers as well as its own internal engineering knowledge.

      339. Moreover, notice is futile because FCA has continually failed to

provide adequate remedies to Plaintiff and the other Class members.

      340. Plaintiff and the other Class members suffered injuries due to the Water

Intrusion Defect in the Class Vehicles and FCA’s breach of the implied warranty of

merchantability.

      341. As a direct and proximate result of FCA’s breach of the implied

warranty of merchantability, Plaintiff and the other Class members have been

damaged in an amount to be determined at trial.

                                COUNT XV
                           FRAUDULENT OMISSION

      342. Plaintiff Jones (“Plaintiff,” for purposes of the Georgia Class’s claims)

incorporates by reference paragraphs 1-161 as if fully set forth herein.


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      343. Plaintiff brings this claim individually and on behalf of the Georgia

Class (the “Class,” for purposes of this Count).

      344. FCA was aware of the true nature of the Class Vehicles as well as the

Water Intrusion Defect when it marketed and sold the Class Vehicles to Plaintiff and

the other Class members.

      345. Having been aware of the true nature of the Class Vehicles as well as

the Water Intrusion Defect—and having known that Plaintiff and the other Class

members could not have reasonably been expected to know this information—FCA

had a duty to disclose the defect to Plaintiff and the other Class Members in

connection with the sale or lease of the Class Vehicles.

      346. FCA did not disclose the true nature of the Class Vehicles as well as

the Water Intrusion Defect to Plaintiff and the other Class members in connection

with the sale or lease of the Class Vehicles.

      347. For reasons set forth above, the Water Intrusion Defect concerns

material information with respect to the sale or lease of the Class Vehicles.

      348. In purchasing the Class Vehicles, Plaintiff and other Class members

reasonably relied on FCA to disclose known material defects with respect to the

Class Vehicles.




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      349. Had Plaintiff and the other Class members known of the true nature of

the Class Vehicles as well as the Water Intrusion Defect, they would not have

purchased the Class Vehicles or would have paid less for the Class Vehicles.

      350. Through its omissions regarding the true nature of the Class Vehicles

as well as the Water Intrusion Defect, FCA intended to induce—and did induce—

Plaintiff and the other Class members either to purchase a Class Vehicle that they

otherwise would not have purchased or to pay more for a Class Vehicle than they

otherwise would have paid.

      351. As a direct and proximate result of FCA’s omissions, Plaintiff and the

other Class members either overpaid for the Class Vehicles or would not have

purchased the Class Vehicles at all if FCA had disclosed the true nature of the Class

Vehicles as well as the Water Intrusion Defect to them. Plaintiff and the other Class

members have therefore incurred damages in an amount to be determined at trial.

                                 COUNT XVI
                             UNJUST ENRICHMENT

      352. Plaintiff Jones (“Plaintiff,” for purposes of the Georgia Class’s claims)

incorporates by reference paragraphs 1-161 as if fully set forth herein.

      353. Plaintiff brings this claim individually and on behalf of the Georgia

Class (the “Class,” for purposes of this Count).

      354. FCA has benefited from selling and leasing at an unjust profit defective

Class Vehicles that had artificially inflated prices due to FCA’s concealment of the


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true nature of the Class Vehicles as well as the Water Intrusion Defect, and Plaintiff

and the other Class members have overpaid for these vehicles.

      355. FCA has received and retained unjust benefits from Plaintiff and the

other Class members, and inequity has resulted.

      356. It is inequitable and unconscionable for FCA to retain these benefits.

      357. Because FCA concealed its fraud and deception, Plaintiff and the other

Class members were not aware of the true facts concerning the Class Vehicles and

did not benefit from FCA’s misconduct.

      358. FCA knowingly accepted the unjust benefits of its misconduct.

      359. As a result of FCA’s misconduct, the amount of its unjust enrichment

should be disgorged and returned to Plaintiff and the other Class members in an

amount to be determined at trial.

E.    Claims Brought on Behalf of the Texas Class

                            COUNT XVII
       VIOLATION OF TEXAS DECEPTIVE TRADE PRACTICES –
                 CONSUMER PROTECTION ACT
                Tex. Bus. & Com. Code §§ 17.01 et seq.

      360. Plaintiff McFarland (“Plaintiff,” for purposes of the Texas Class’s

claims) incorporates by reference paragraphs 1-160 as if fully set forth herein.

      361. Plaintiff brings this claim individually and on behalf of the Texas Class

(the “Class,” for purposes of this Count).




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      362. The Texas Deceptive Trade Practices – Consumer Protection Act (the

“Texas Act”) states that it is unlawful to commit “[f]alse, misleading, or deceptive

acts or practices in the conduct of any trade of commerce.” Tex. Bus. & Com. Code

§ 17.46.

      363. By the conduct described in detail above and incorporated herein, FCA

engaged in false, misleading, and deceptive trade practices.

      364. Plaintiff, individually and on behalf of the other Class members,

notified FCA of the Water Intrusion Defect—and FCA’s corresponding breach of

warranty—through a notice letter dated September 28, 2022 and sent by United

States Certified Mail to FCA through its counsel. FCA was also provided notice of

the Water Intrusion Defect through numerous complaints filed against it directly and

through its dealers as well as its own internal engineering knowledge.

      365. FCA’s omissions regarding the true nature of the Class Vehicle as well

as the Water Intrusion Defect are omissions of material facts that a reasonable person

would have considered in deciding whether to purchase or pay the same price for the

Class Vehicles.

      366. FCA intended for Plaintiff and the other Class members to rely on

FCA’s omissions regarding the true nature of the Class Vehicle as well as the Water

Intrusion Defect.




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      367. Plaintiff and the other Class members justifiably acted or relied to their

detriment on FCA’s omissions of fact concerning the true nature of the Class Vehicle

as well as the Water Intrusion Defect, as evidenced by Plaintiff and the other Class

members’ purchases of the Class Vehicles.

      368. Had FCA disclosed all material information regarding the true nature

of the Class Vehicle as well as the Water Intrusion Defect, Plaintiff and the other

Class members would not have purchased or leased the Class Vehicles or would

have paid less to do so.

      369. FCA’s omissions have deceived Plaintiff and have deceived or are

likely to deceive other Class members and members of the consuming public.

      370. In addition to being deceptive, the business practices of FCA were

unfair because FCA knowingly sold to Plaintiff and the other Class members

defective vehicles that are essentially unusable for the purposes for which they were

sold. The injuries to Plaintiff and the other Class members are substantial and greatly

outweigh any alleged countervailing benefit to Plaintiff and the other Class members

or to any competition under all of the circumstances. Moreover, in light of FCA’s

exclusive knowledge of the true nature of the Class Vehicle as well as the Water

Intrusion Defect, the injury is not one that Plaintiff could have reasonably avoided.

      371. As a direct and proximate result of FCA’s unfair and deceptive trade

practices, Plaintiff and the other Class members have suffered ascertainable.


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                               COUNT XVIII
                    BREACH OF EXPRESS WARRANTY
                  Tex. Bus. & Com. Code §§ 2.313 and 2A.210
      372. Plaintiff McFarland (“Plaintiff,” for purposes of the Texas Class’s

claims) incorporates by reference paragraphs 1-160 as if fully set forth herein.

      373. Plaintiff brings this claim individually and on behalf of the Texas Class

(the “Class,” for purposes of this Count).

      374. FCA is and was at all relevant times a “merchant” with respect to the

Class Vehicles within the meaning of Texas Business and Commerce Code §

2.104(a).

      375. The Class Vehicles are and were at all relevant times “goods” within

the meaning of Texas Business and Commerce Code §§ 2.105(a) and 2A.103(a)(8).

      376. FCA expressly warranted in its 2016 Basic Limited Warranty that it

would “cover[] the cost of all parts and labor needed to repair any item on [the]

vehicle when it left the manufacturing plant that is defective in material,

workmanship or factory preparation.”

      377. FCA’s Limited Warranty formed the basis of the bargain that was

reached when Plaintiff and the other Class members purchased or leased their Class

Vehicles with the Water Intrusion Defect.

      378. FCA breached the express warranty by failing to timely and adequately

repair the Water Intrusion Defect.



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      379. Further, to the extent that the Limited Warranty is construed to be

limited to vehicle defects related to materials or workmanship, FCA has breached

the Limited Warranty.

      380. The Water Intrusion Defect is a uniform defect that is related to

materials.

      381. Specifically, the seals in the Class Vehicles are materials and they could

suffer from inordinate wear or degradation.

      382. FCA has not repaired, and has been unable to repair, the Water

Intrusion Defect.

      383. Plaintiff, individually and on behalf of the other Class members,

notified FCA of the Water Intrusion Defect—and FCA’s corresponding breach of

warranty—through a notice letter dated September 28, 2022 and sent by United

States Certified Mail to FCA through its counsel. FCA was also provided notice of

the Water Intrusion Defect through numerous complaints filed against it directly and

through its dealers as well as its own internal engineering knowledge.

      384. The Limited Warranty fails in its essential purpose because the

contractual remedy is insufficient to make Plaintiff and the other Class members

whole and because FCA has failed and/or has refused to adequately provide the

promised remedies within a reasonable time.




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      385. Accordingly, recovery by Plaintiff and the other Class members is not

limited to the limited warranty of repair to parts defective in materials and

workmanship, and Plaintiff, individually and on behalf of the other Class members,

seek all remedies as allowed by law.

      386. Additionally, as alleged in more detail herein, at the time that FCA

warranted and sold the Class Vehicles it knew that the Class Vehicles did not

conform to the warranty and were inherently defective, and FCA improperly

concealed material facts regarding its Class Vehicles. Plaintiff and the other Class

members were, therefore, induced to purchase or lease the Class Vehicles under false

pretenses.

      387. Moreover, much of the damage flowing from the Class Vehicles cannot

be resolved through the limited remedy of repairs, as those incidental and

consequential damages have already been suffered due to FCA’s improper conduct

as alleged herein, and due to its failure and/or continued failure to provide such

limited remedy within a reasonable time, and any limitation on Plaintiff’s and the

other Class members’ remedies would be insufficient to make Plaintiff and the other

Class members whole.

      388. As a direct and proximate result of FCA’s breach of express warranty,

Plaintiff and the other Class members have been damaged in an amount to be

determined at trial.


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                               COUNT XIX
         BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                 Tex. Bus. & Com. Code §§ 2.314 and 2A.212
      389. Plaintiff McFarland (“Plaintiff,” for purposes of the Texas Class’s

claims) incorporates by reference paragraphs 1-160 as if fully set forth herein.

      390. Plaintiff brings this claim individually and on behalf of the Texas Class

(the “Class,” for purposes of this Count).

      391. FCA is and was at all relevant times a “merchant” with respect to the

Class Vehicles within the meaning of Texas Business and Commerce Code §

2.104(a) and a “lessor” within the meaning of Texas Business and Commerce Code

§ 2A.103(a)(16).

      392. The Class Vehicles are and were at all relevant times “goods” within

the meaning of Texas Business and Commerce Code §§ 2.105(a) and 2A.103(a)(8).

      393. Pursuant to Texas Business and Commerce Code §§ 2.314 and 2A.212,

a warranty that the Class Vehicles were in merchantable condition was implied by

law, and the Class Vehicles were bought and sold subject to an implied warranty of

merchantability.

      394. The Class Vehicles did not comply with the implied warranty of

merchantability because, at the time of sale and at all times thereafter, they were

defective and not in merchantable condition, would not pass without objection in the

trade, and were not fit for the ordinary purpose for which vehicles are used.



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Specifically, the Class Vehicles suffer from the Water Intrusion Defect, which

causes foul odors, mold, mildew, electrical failures and airbag damage.

      395. Plaintiff, individually and on behalf of the other Class members,

notified FCA of the Water Intrusion Defect—and FCA’s corresponding breach of

warranty—through a notice letter dated September 28, 2022 and sent by United

States Certified Mail to FCA through its counsel. FCA was also provided notice of

the Water Intrusion Defect through numerous complaints filed against it directly and

through its dealers as well as its own internal engineering knowledge.

      396. Plaintiff and the other Class members suffered injuries due to the

defective condition of the Class Vehicles and FCA’s breach of the implied warranty

of merchantability.

      397. As a direct and proximate result of FCA’s breach of the implied

warranty of merchantability, Plaintiff and the other Class members have been

damaged in an amount to be determined at trial.

                                   COUNT XX
                              FRAUDULENT OMISSION
      398. Plaintiff McFarland (“Plaintiff,” for purposes of the Texas Class’s

claims) incorporates by reference paragraphs 1-160 as if fully set forth herein.

      399. Plaintiff brings this claim individually and on behalf of the Texas Class

(the “Class,” for purposes of this Count).




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      400. FCA was aware of the true nature of the Class Vehicle as well as the

Water Intrusion Defect when it marketed and sold the Class Vehicles to Plaintiff and

the other Class members.

      401. Having been aware of the true nature of the Class Vehicle as well as the

Water Intrusion Defect—and having known that Plaintiff and the other Class

members could not have reasonably been expected to know this information—FCA

had a duty to disclose the defect to Plaintiff and the other Class Members in

connection with the sale or lease of the Class Vehicles.

      402. FCA did not disclose the true nature of the Class Vehicle as well as the

Water Intrusion Defect to Plaintiff and the other Class members in connection with

the sale or lease of the Class Vehicles.

      403. For reasons set forth above, the Water Intrusion Defect concerns

material information with respect to the sale or lease of the Class Vehicles.

      404. In purchasing the Class Vehicles, Plaintiff and other Class members

reasonably relied on FCA to disclose known material defects with respect to the

Class Vehicles.

      405. Had Plaintiff and the other Class members known of the true nature of

the Class Vehicle as well as the Water Intrusion Defect, they would not have

purchased the Class Vehicles or would have paid less for the Class Vehicles.




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      406. Through its omissions regarding the true nature of the Class Vehicle as

well as the Water Intrusion Defect, FCA intended to induce—and did induce—

Plaintiff and the other Class members either to purchase a Class Vehicle that they

otherwise would not have purchased or to pay more for a Class Vehicle than they

otherwise would have paid.

      407. As a direct and proximate result of FCA’s omissions, Plaintiff and the

other Class members either overpaid for the Class Vehicles or would not have

purchased the Class Vehicles at all if FCA had disclosed the true nature of the Class

Vehicle as well as the Water Intrusion Defect to them. Plaintiff and the other Class

members have therefore incurred damages in an amount to be determined at trial.

                                   COUNT XXI
                               UNJUST ENRICHMENT
      408. Plaintiff McFarland (“Plaintiff,” for purposes of the Texas Class’s

claims) incorporates by reference paragraphs 1-160 as if fully set forth herein.

      409. Plaintiff brings this claim individually and on behalf of the Texas Class

(the “Class,” for purposes of this Count).

      410. FCA has benefited from selling and leasing at an unjust profit defective

Class Vehicles that had artificially inflated prices due to FCA’s concealment of the

true nature of the Class Vehicle as well as the Water Intrusion Defect, and Plaintiff

and the other Class members have overpaid for these vehicles.




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      411. FCA has received and retained unjust benefits from Plaintiff and the

other Class members, and inequity has resulted.

      412. It is inequitable and unconscionable for FCA to retain these benefits.

      413. Because FCA concealed its fraud and deception, Plaintiff and the other

Class members were not aware of the true facts concerning the Class Vehicles and

did not benefit from FCA’s misconduct.

      414. FCA knowingly accepted the unjust benefits of its misconduct.

      415. As a result of FCA’s misconduct, the amount of its unjust enrichment

should be disgorged and returned to Plaintiff and the other Class members in an

amount to be determined at trial.

                            REQUEST FOR RELIEF

      WHEREFORE, Plaintiffs, individually and on behalf of the other Class

members, respectfully request that the Court enter judgment in their favor and

against FCA, as follows:

      A.    Certification of the proposed Nationwide and State Classes, including

            appointment of the named Plaintiffs as Class Representatives and

            Plaintiffs’ counsel as Class Counsel;

      B.    Restitution, including, at the election of Class members, recovery of the

            purchase price of their Class Vehicles, or the overpayment or

            diminution in value of their vehicles;


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      C.    Damages, including punitive damages, costs, and disgorgement in an

            amount to be determined at trial, except that monetary relief under

            certain consumer protection statutes, as stated above, shall be limited

            prior to completion of the applicable notice requirements;

      D.    An order requiring Defendant to pay both pre- and post-judgment

            interest on any amounts awarded;

      E.    An award of costs and attorneys’ fees; and

      F.    Such other or further relief as may be appropriate.

                          DEMAND FOR JURY TRIAL

      Plaintiff hereby demands a jury trial for all claims so triable.

      Dated: September 29, 2022         Respectfully submitted,

                                        /s/ E. Powell Miller
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                                        Sharon S. Almonrode (P33938)
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                                    Classes




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                          CERTIFICATE OF SERVICE

       I hereby certify, that on September 29, 2022 I electronically filed the

 foregoing with the Clerk of the Court using the ECF system which will notify all

 counsel of record authorized to receive such filings.

                                           THE MILLER LAW FIRM, P.C.

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